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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                    UNITED STATES BANKRUPTCY COURT
                                        SAN FRANCISCO, CALIFORNIA




                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
                                                                    13
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                                                                                                               SAN FRANCISCO DIVISION
                                                                    14
                                                                           In re:                                                     Case No.: 16-30296 DM
                                                                    15
                                                                           BLUE EARTH, INC., et al.,1                                 Chapter 11
                                                                    16                                                                Jointly Administered
                                                                                                               Debtors.
                                                                    17                                                                DISCLOSURE STATEMENT IN SUPPORT
                                                                                                                                      OF JOINT PLAN OF REORGANIZATION
                                                                    18                                                                OF THE DEBTORS PROPOSED BY THE
                                                                                                                                      DEBTORS AND JACKSON INVESTMENT
                                                                    19                                                                GROUP, LLC

                                                                    20                                                                Disclosure Statement Approval Hearing:
                                                                                                                                      Date: June 10, 2016
                                                                    21                                                                Time: 11:30 a.m.

                                                                    22                                                                Plan Confirmation Hearing:
                                                                                                                                      Date:
                                                                    23                                                                Time:
                                                                                                                                      Place: United States Bankruptcy Court
                                                                    24                                                                       450 Gold Gate Avenue, 16th Floor
                                                                                                                                             Courtroom 17
                                                                    25                                                                       San Francisco, California 94102
                                                                                                                                      Judge: Honorable Dennis Montali
                                                                    26
                                                                           1
                                                                    27      The last four digits of each of the Debtors’ tax identification numbers are Blue Earth, Inc. (1496) and Blue Earth Tech,
                                                                           Inc. (0269). The location of the Debtors’ headquarters and service address is 235 Pine Street, Suite 1100, San Francisco,
                                                                    28     California 94104.


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                                                                     3             Exhibit 1                           Plan

                                                                     4             Exhibit 2                           Post Confirmation Budget

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                                                                     6             Exhibit 4                           Corporate Organizational Chart

                                                                     7

                                                                     8                                             Plan/Plan Supplement Exhibits2

                                                                     9
                                                                                   Exhibit A                           Articles of Incorporation for Reorganized Blue Earth
                                                                    10
                                                                                   Exhibit B                           List of Assumed Executory Contracts and Unexpired
                                                                    11
                                                                                                                       Leases
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                                                                    12             Exhibit C                           Principal Exit Contingent Note Documents
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                                                                    13
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                                                                    14             Exhibit E                           Litigation Trust Agreement
                                                                    15             Exhibit F                           List of officers for Reorganized Blue Earth
                                                                    16

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                                                                             The Exhibits not initially appended to the Plan will be filed as part of the Plan Supplement. All Exhibits will be made
                                                                    27     available, free of charge, on the Document Website at http://www.kccllc.net/blueearth once they are filed. Copies of
                                                                           all Exhibits may be obtained from Debtors’ counsel. The Plan Proponents reserve the right to modify, amend,
                                                                    28     supplement, restate or withdraw any of the Exhibits after they are filed and shall promptly make such changes available
                                                                           on the Document Website.
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                                                                     2                                                INTRODUCTION

                                                                     3     A.      Introduction

                                                                     4             Blue Earth, Inc. (“Blue Earth”) and Blue Earth Tech, Inc. (“BE Tech” and, collectively with

                                                                     5     Blue Earth, the “Debtors”), as debtors and debtors in possession, along with Jackson Investment

                                                                     6     Group, LLC (“JIG”), proposed their joint plan of reorganization for the resolution of Claims against

                                                                     7     and Interests in each of the Debtors pursuant to chapter 11 of the Bankruptcy Code on May 6, 2016.

                                                                     8     The Debtors and JIG are the proponents of the Plan within the meaning of section 1129 of the

                                                                     9     Bankruptcy Code.

                                                                    10             This Disclosure Statement is being distributed contemporaneously with the Plan and contains

                                                                    11     a discussion of the Debtors’ assets, liabilities, history, business, results of operations, historical
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                                                                    12     financial information, projections of future operations and a summary of the Plan and the
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                                                                    13     distributions to be made thereunder.
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                                                                    14             The Plan is attached hereto as Exhibit “1”. Defined terms not otherwise defined herein have

                                                                    15     the same meanings as set forth in the Plan. Other agreements and documents supplementing the

                                                                    16     Plan are appended as Exhibits hereto or to the Plan and have been or will be filed with the

                                                                    17     Bankruptcy Court. These supplemental agreements and documents are referenced in the Plan and

                                                                    18     the Disclosure Statement and will be available for review.

                                                                    19             ALL CREDITORS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO

                                                                    20     READ THIS DISCLOSURE STATEMENT IN ITS ENTIRETY BEFORE VOTING TO ACCEPT

                                                                    21     OR REJECT THE PLAN. SUBJECT TO CERTAIN RESTRICTIONS AND REQUIREMENTS

                                                                    22     SET FORTH IN SECTION 1127 OF THE BANKRUPTCY CODE, IN BANKRUPTCY RULE

                                                                    23     3019 AND IN THE PLAN, THE PLAN PROPONENTS RESERVE THE RIGHT TO ALTER,

                                                                    24     AMEND, MODIFY, REVOKE OR WITHDRAW THE PLAN PRIOR TO ITS SUBSTANTIAL

                                                                    25     CONSUMMATION.

                                                                    26             THE PLAN PROPONENTS BELIEVE THAT THE IMPLEMENTATION OF THE

                                                                    27     PLAN IS IN THE BEST INTERESTS OF EACH OF THE DEBTORS AND THEIR

                                                                    28     STAKEHOLDERS. FOR ALL OF THE REASONS DESCRIBED IN THIS DISCLOSURE

                                                                                                                                1
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                                                                     1     STATEMENT, THE PLAN PROPONENTS URGE YOU TO RETURN YOUR BALLOT

                                                                     2     ACCEPTING THE PLAN BY THE VOTING DEADLINE (I.E., THE DATE BY WHICH

                                                                     3     YOUR BALLOT MUST BE ACTUALLY RECEIVED), WHICH IS [___________ ___,] 2016,

                                                                     4     AT 5:00 P.M. (PACIFIC TIME).

                                                                     5             UNDER THE PLAN, GENERAL UNSECURED CREDITORS WILL RECEIVE

                                                                     6     EITHER (1) A GUARANTEED DIVIDEND OF 5% ON ACCOUNT OF ALLOWED

                                                                     7     CLAIMS, WITH THE OPPORTUNITY TO RECOVER UP TO 100% PLUS INTEREST,

                                                                     8     FROM THE LITIGATION TRUST OR (2) A GUARANTEED DISTRIBUTION EQUAL TO

                                                                     9     30% OF THEIR ALLOWED CLAIMS. ALTERNATIVELY, BASED ON THE LIQUIDATION

                                                                    10     ANALYSIS ATTACHED HERETO, THE PLAN PROPONENTS BELIEVE THAT IF THE

                                                                    11     DEBTORS WERE LIQUIDATED UNDER CHAPTER 7, HOLDERS OF GENERAL
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                                                                    12     UNSECURED CLAIMS WOULD RECEIVE NO DISTRIBUTIONS EXCEPT FROM
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     LITIGATION RECOVERIES IN THE FUTURE.
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                                                                    14     B.      Information Regarding the Plan

                                                                    15             1.         Plan Governing Document

                                                                    16             Although the Plan Proponents believe that this Disclosure Statement accurately describes the

                                                                    17     Plan, all summaries of the Plan contained in this Disclosure Statement are qualified by the Plan itself

                                                                    18     and the documents described therein which are controlling. You are urged to read the Plan in its

                                                                    19     entirety and not just this Disclosure Statement.

                                                                    20             2.         Source of Information

                                                                    21             Factual information, including all financial information contained in this Disclosure

                                                                    22     Statement, has been provided by the Debtors, JIG, or their respective professionals, or has been

                                                                    23     obtained from the Debtors’ or JIG’s records, except where otherwise specifically noted. None of the

                                                                    24     Plan Proponents’ attorneys, accountants or other professionals makes any representation regarding

                                                                    25     that information. The Plan Proponents do not represent or warrant that the information contained in

                                                                    26     this Disclosure Statement is free from any inaccuracy. The Plan Proponents have, however,

                                                                    27     attempted to present the information accurately and fairly, and the Plan Proponents believe that the

                                                                    28     information is substantially accurate. The assumptions underlying the projections contained in this

                                                                                                                              2
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                                                                     1     Disclosure Statement concerning the sources and amounts of payments to creditors and Interest

                                                                     2     Holders represent the Plan Proponents’ best estimate as to what they expect will happen. Because

                                                                     3     they are only assumptions about or predictions of future events, many of which are beyond the Plan

                                                                     4     Proponents’ control, there can be no assurances that the assumptions will in fact materialize or that

                                                                     5     the projected realizations will in fact be met. Except as otherwise provided herein, this Disclosure

                                                                     6     Statement will not reflect any events that occurred after the hearing before the Bankruptcy Court to

                                                                     7     determine the adequacy of the Disclosure Statement.

                                                                     8             3.         Bankruptcy Court Approval

                                                                     9             [Following a hearing held on June 10, 2016, the Bankruptcy Court approved this Disclosure

                                                                    10     Statement as containing information of a kind and in sufficient detail adequate to enable a

                                                                    11     hypothetical, reasonable investor to make an informed judgment about the Plan.] Under section
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                                                                    12     1125 of the Bankruptcy Code, this approval enabled the Plan Proponents to send you this Disclosure
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     Statement and solicit your acceptance of the Plan. The Bankruptcy Court has not, however,
                                            ATTORNEYS AT LAW




                                                                    14     approved the Plan itself, nor conducted a detailed investigation into the contents of this Disclosure

                                                                    15     Statement.

                                                                    16     C.      Voting Instructions

                                                                    17             1.         How to Vote

                                                                    18             A Ballot is enclosed herewith for creditors entitled to vote to accept or reject the Plan. To

                                                                    19     vote on the Plan, indicate on the enclosed Ballot that you accept or you reject the Plan and sign your

                                                                    20     name and mail the Ballot in the envelope provided for this purpose.

                                                                    21             To be counted, Ballots must be completed, signed and returned so that they are actually

                                                                    22     received no later than the Voting Deadline (i.e., [_____________ ___, 2016 at 5:00 p.m. (Pacific

                                                                    23     Time)]) at the following address:

                                                                    24                                        Blue Earth Ballot Processing
                                                                                                                   c/o John W. Lucas
                                                                    25                                  PACHULSKI STANG ZIEHL & JONES LLP
                                                                                                            150 California Street, 15th Floor
                                                                    26                                      San Francisco, California 94111
                                                                    27
                                                                                                      Do not send your Ballot via facsimile or e-mail.
                                                                    28

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                                                                     1             If your Ballot is not properly completed, signed and returned as described, it will not be

                                                                     2     counted. If your Ballot is damaged or lost, you may request a replacement by sending a written

                                                                     3     request to the above address.

                                                                     4             2.         Who May Vote

                                                                     5             Claims against and Interests in the Debtors are classified in up to nine (9) separate Classes,

                                                                     6     with subclasses for each of the two Debtors – Blue Earth and BE Tech. The following table

                                                                     7     designates the Classes of Claims against and Interests in the Debtors and specifies which Classes are

                                                                     8     (a) Impaired or Unimpaired by the Plan, (b) entitled to vote to accept or reject the Plan in accordance

                                                                     9     with section 1126 of the Bankruptcy Code or (c) deemed to accept or reject the Plan.

                                                                    10         Class                       Designation                Impairment           Entitled to Vote
                                                                           Class 1A            Priority Claims – Blue Earth         Unimpaired            Deemed to Accept
                                                                    11     Class 1B            Priority Claims – BE Tech            Unimpaired            Deemed to Accept
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                                                                           Class 2A            Other Secured Claims – Blue          Unimpaired            Deemed to Accept
                                                                    12                         Earth
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                                                                           Class 2B            Other Secured Claims – BE Tech       Unimpaired            Deemed to Accept
                                                                    13
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                                                                           Class 3A            Prepetition Note Secured Claims –    Impaired              Entitled to Vote
                                                                                               Blue Earth
                                                                    14     Class 3B            Prepetition Note Secured Claims –    Impaired              Entitled to Vote
                                                                                               BE Tech
                                                                    15     Class 4A            General Unsecured Claims – Blue      Impaired              Entitled to Vote
                                                                                               Earth
                                                                    16
                                                                           Class 4B            General Unsecured Claims – BE        Impaired              Entitled to Vote
                                                                    17                         Tech
                                                                           Class 5A            D&O Claims – Blue Earth              Impaired              Entitled to Vote
                                                                    18     Class 5B            D&O Claims – BE Tech                 Impaired              Entitled to Vote
                                                                           Class 6A            Section 510 Claims – Blue Earth      Impaired              Deemed to Reject
                                                                    19     Class 7A            Intercompany Claims – Blue Earth     Unimpaired            Deemed to Accept
                                                                           Class 7B            Intercompany Claims – BE Tech        Unimpaired            Deemed to Accept
                                                                    20     Class 8A            Equity Interests – Blue Earth        Impaired              Deemed to Reject
                                                                           Class 9B            Equity Interests – BE Tech           Unimpaired            Deemed to Accept
                                                                    21

                                                                    22             Classes of creditors that are Impaired by the Plan are entitled to vote or may be deemed to

                                                                    23     have rejected the Plan. Each Holder of an Allowed Claim in an Impaired Class that will receive

                                                                    24     distributions under the Plan on account of such Claims may vote to accept or reject the Plan. A

                                                                    25     Class is Impaired if the legal, equitable or contractual rights attaching to the Claims or Interests of

                                                                    26     the Class are modified, other than by curing defaults and reinstating maturities.

                                                                    27             Classes 1A, 1B, 2A, 2B, 7A, 7B and 9B are Unimpaired and deemed to have accepted

                                                                    28     the Plan. Classes 3A, 3B, 4A, 4B, 5A, 5B and 8A are Impaired under the Plan; however only

                                                                                                                               4
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                                                                     1   Classes 3A, 3B, 4A, 4B, 5A and 5B are entitled to vote on the Plan because Classes 6A and 8A

                                                                     2   are deemed to have rejected the Plan.

                                                                     3           In determining acceptances of the Plan, the vote of a creditor will only be counted if

                                                                     4   submitted by a creditor whose Claim is an Allowed Claim. Generally speaking, a creditor holds an

                                                                     5   Allowed Claim if such Claim is duly scheduled by the Debtors as other than disputed, contingent or

                                                                     6   unliquidated, or the creditor has timely filed with the Bankruptcy Court a Proof of Claim which has

                                                                     7   not been objected to or disallowed prior to computation of the votes on the Plan. The Ballot form

                                                                     8   that you received does not constitute a Proof of Claim.

                                                                     9   D.      Confirmation

                                                                    10           “Confirmation” is the technical phrase for the Bankruptcy Court’s approval of a plan of

                                                                    11   reorganization. At the Confirmation Hearing, in order to confirm the Plan, the Plan Proponents must
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                                                                    12   demonstrate that the Plan has met the requirements of section 1129 of the Bankruptcy Code. If the
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                                                                    13   Bankruptcy Court determines that all of the requirements of section 1129 have been satisfied, the
                                            ATTORNEYS AT LAW




                                                                    14   Bankruptcy Court will enter an order confirming the Plan. The Plan Proponents believe that the Plan

                                                                    15   satisfies all the statutory requirements of chapter 11 of the Bankruptcy Code for Confirmation of the

                                                                    16   Plan.

                                                                    17           Voting is tabulated by class. As discussed above, a class of creditors or interest holders has

                                                                    18   accepted a plan of reorganization if the plan has been accepted by two-thirds (2/3) in dollar amount

                                                                    19   and more than one-half (1/2) in number of creditors or interest holders holding allowed claims or

                                                                    20   interests in that class who actually vote to accept or reject such plan.

                                                                    21           Even if a class of creditors or interests votes against a plan of reorganization, the plan may

                                                                    22   nevertheless be confirmed by the bankruptcy court, notwithstanding the rejection of the plan by such

                                                                    23   class, so long as certain statutory requirements are met by the plan. This procedure is called a “cram

                                                                    24   down.” The Plan Proponents will request that the Bankruptcy Court confirm the Plan in accordance

                                                                    25   with section 1129(b) of the Bankruptcy Code if any Class rejects the Plan.

                                                                    26           The Bankruptcy Court has set [_______________, 2016 at __:__ __.m. (Pacific Time)] as

                                                                    27   the hearing date to determine whether the Plan has been accepted by the requisite number of

                                                                    28   creditors and whether the other requirements for Confirmation of the Plan have been satisfied. The

                                                                                                                             5
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                                                                     1   hearing regarding Confirmation will be held at the United States Bankruptcy Court, 450 Golden

                                                                     2   Gate Avenue, 18th Floor, San Francisco, California 94104. This hearing may be continued from

                                                                     3   time to time and day to day without further notice. If the Bankruptcy Court confirms the Plan, it will

                                                                     4   enter the Confirmation Order. Any objections to Confirmation of the Plan must (1) be in writing, (2)

                                                                     5   state the name and address of the objecting party and the nature of the Claim or Interest of such

                                                                     6   party, and (3) state with particularity the basis and nature of such objection. Any such objections

                                                                     7   must be filed with the Clerk of the Bankruptcy Court and served on the parties set forth below on or

                                                                     8   before the date set forth in the Notice of Confirmation Hearing sent to you with this Disclosure

                                                                     9   Statement and the Plan.

                                                                    10           Objections must be timely served upon:

                                                                    11                          (1) The Debtors:
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                          Blue Earth, Inc.
                                                                                                Blue Earth Tech, Inc.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                          235 Pine Street, Suite 1100
                                            ATTORNEYS AT LAW




                                                                                                San Francisco, California 94104
                                                                    14                          Attn: G. Robert Powell
                                                                                                Telephone: (415) 964-4411
                                                                    15                          Email:         bob@blueearthinc.com
                                                                    16                          (2) Counsel for the Debtors:
                                                                    17                          Jeffrey N. Pomerantz
                                                                                                Debra I. Grassgreen
                                                                    18                          John W. Lucas
                                                                                                Malhar S. Pagay
                                                                    19                          Pachulski Stang Ziehl & Jones LLP
                                                                                                150 California Street, 15th Floor
                                                                    20                          San Francisco, California 94111
                                                                                                Telephone:     (415) 263-7000
                                                                    21                          Email:         jpomerantz@pszjlaw.com
                                                                                                               dgrassgreen@pszjlaw.com
                                                                    22                                         jlucas@pszjlaw.com
                                                                                                               mpagay@pszjlaw.com
                                                                    23
                                                                                                (3) Counsel for the Creditors’ Committee:
                                                                    24
                                                                                                Donald W. Fitzgerald
                                                                    25                          Thomas A. Willoughby
                                                                                                Jennifer E. Niemann
                                                                    26                          Felderstein Fitzgerald Willoughby & Pascuzzi LLP
                                                                                                400 Capitol Mall, Suite 1750
                                                                    27                          Sacramento, California 95814
                                                                                                Telephone:     (916) 329-7400
                                                                    28                          Email:         twilloughby@ffwplaw.com
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                                                                     1                          (4) Counsel for JIG:

                                                                     2                          Todd C. Meyers
                                                                                                Paul M. Rosenblatt
                                                                     3                          Kilpatrick Townsend & Stockton LLP
                                                                                                1100 Peachtree Street, NE, Suite 2800
                                                                     4                          Atlanta, Georgia 30309-4530
                                                                                                Telephone:    (404) 815-6500
                                                                     5                          Email:        tmeyers@kilpatricktownsend.com
                                                                                                              prosenblatt@kilpatricktownsend.com
                                                                     6
                                                                                                       and
                                                                     7
                                                                                                (5) The Office of the United States Trustee
                                                                     8
                                                                                                Lynette C. Kelly
                                                                     9                          Trial Attorney
                                                                                                Office of the United States Trustee
                                                                    10                          1301 Clay Street, Suite 690N
                                                                                                Oakland, California 94612
                                                                    11                          Telephone: (510) 637-3200
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                Email:         lynette.c.kelly@usdoj.com
                                                                    12
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                                                                    13   E.      Disclaimers
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                                                                    14           THIS DISCLOSURE STATEMENT CONTAINS INFORMATION WHICH MAY BEAR

                                                                    15   UPON YOUR DECISION TO ACCEPT OR REJECT THE PROPOSED PLAN. PLEASE READ

                                                                    16   THIS DOCUMENT WITH CARE. THE PURPOSE OF THIS DISCLOSURE STATEMENT IS

                                                                    17   TO PROVIDE “ADEQUATE INFORMATION” OF A KIND, AND IN SUFFICIENT DETAIL,

                                                                    18   AS FAR AS IS REASONABLY PRACTICABLE IN LIGHT OF THE NATURE AND HISTORY

                                                                    19   OF THE DEBTORS AND THE CONDITION OF THE DEBTORS’ BOOKS AND RECORDS,

                                                                    20   THAT WOULD ENABLE A HYPOTHETICAL REASONABLE INVESTOR TYPICAL OF

                                                                    21   HOLDERS OF CLAIMS OR INTERESTS OF THE RELEVANT CLASS TO MAKE AN

                                                                    22   INFORMED JUDGMENT CONCERNING THE PLAN. SEE 11 U.S.C. § 1125(a).

                                                                    23           FOR THE CONVENIENCE OF CREDITORS AND INTEREST HOLDERS, THIS

                                                                    24   DISCLOSURE STATEMENT SUMMARIZES THE TERMS OF THE PLAN, BUT THE PLAN

                                                                    25   ITSELF QUALIFIES ANY SUMMARY. IF ANY INCONSISTENCY EXISTS BETWEEN THE

                                                                    26   PLAN AND THIS DISCLOSURE STATEMENT, THE TERMS OF THE PLAN WILL

                                                                    27   CONTROL.

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                                                                     1           THE CONTENTS OF THIS DISCLOSURE STATEMENT SHOULD NOT BE

                                                                     2   CONSTRUED AS LEGAL, BUSINESS OR TAX ADVICE. EACH CREDITOR OR INTEREST

                                                                     3   HOLDER SHOULD CONSULT HIS OR HER OWN LEGAL COUNSEL AND ACCOUNTANT

                                                                     4   AS TO LEGAL, TAX AND OTHER MATTERS CONCERNING HIS OR HER CLAIM OR

                                                                     5   INTEREST.

                                                                     6                                                     II.

                                                                     7                                            PLAN OVERVIEW

                                                                     8           A discussion of the principal provisions of the Plan as they relate to the treatment of Classes

                                                                     9   of Allowed Claims is set forth below. The discussion of the Plan that follows constitutes a summary

                                                                    10   only and should not be relied upon for voting purposes. You are urged to read the Plan in full in

                                                                    11   evaluating whether to accept or reject the Plan proposed by the Plan Proponents. If any
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                                                                    12   inconsistency exists between this summary and the Plan, the terms of the Plan shall control. A
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                                                                    13   complete copy of the Plan is attached hereto as Exhibit “1”.
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                                                                    14   A.      Introduction

                                                                    15           The Plan generally provides for a reorganization of the Debtors’ business through a debt-for-

                                                                    16   equity swap whereby JIG, the Debtors’ Prepetition Secured Lender and DIP Lender, shall receive

                                                                    17   100% of the Reorganized Blue Earth Equity Interests. Therefore, upon the Effective Date, JIG will

                                                                    18   become the 100% owner of Reorganized Blue Earth. Interests in Reorganized BE Tech will be

                                                                    19   Reinstated. More specifically, Reorganized Blue Earth will assume $8 million of debt into the Exit

                                                                    20   Contingent Note, from a combination of the full amount of the Plan Funding Amount, a substantial

                                                                    21   portion of the Allowed DIP Claim and a portion of the Allowed Prepetition Note Secured Claim, and

                                                                    22   convert $1 million from a combination of a portion of the Allowed DIP Claim and a portion of the

                                                                    23   Allowed Prepetition Note Secured Claim into Reorganized Blue Earth Equity Interests. Reorganized

                                                                    24   Blue Earth will retain the operations of Sumter Heat and Power, LLC, as well as collect various

                                                                    25   other receivables. The Exit Contingent Note will have a term of 5 years, deferred interest accruing

                                                                    26   at 1%, and after 5 years any remaining amount of the Exit Contingent Note will be satisfied in full

                                                                    27   from the assets of Reorganized Blue Earth.

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                                                                     1           Shortly after the Effective Date, Brooks Heat & Power, Ltd., will be transferred to a separate

                                                                     2   newly formed entity owned by JIG, and upon such transfer, the Exit Contingent Note will be reduced

                                                                     3   by $2,400,000. The newly formed entity will provide management services to the Reorganized

                                                                     4   Debtors, and the Reorganized Debtors will have no direct employees. It is anticipated that EnSite

                                                                     5   Power, Inc., will be able to raise capital from third parties after the Effective Date.

                                                                     6   B.      Treatment of Claims

                                                                     7           1.         Classification Generally

                                                                     8           The Claims and Interests listed below are classified pursuant to sections 1122 and 1123(a)(1)

                                                                     9   of the Bankruptcy Code.

                                                                    10           A Claim or Interest shall be deemed classified in a particular Class only to the extent that the

                                                                    11   Claim or Interest qualifies within the description of that Class and shall be deemed classified in a
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                                                                    12   different Class only to the extent that any portion of such Claim or Interest qualifies within the
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                                                                    13   description of such different Class. A Claim or Interest is placed in a particular Class only to the
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                                                                    14   extent that such Claim or Interest is Allowed in that Class and has not been paid, released, or

                                                                    15   otherwise settled prior to the Effective Date. Notwithstanding any distribution provided for in the

                                                                    16   Plan, no distribution on account of any Claim or Interest is required or permitted unless and until

                                                                    17   such Claim or Interest becomes an Allowed Claim or Allowed Interest, as the case may be, which

                                                                    18   might not occur, if at all, until after the Effective Date.

                                                                    19           2.         Unclassified Claims

                                                                    20           In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Fee

                                                                    21   Claims, DIP Claims, and Priority Tax Claims have not been classified and are excluded from the

                                                                    22   Classes of Claims set forth in Section II.C. of the Plan. Section II. A. of the Plan governs the

                                                                    23   treatment and payment of all such unclassified Claims.

                                                                    24           3.         Classified Claims

                                                                    25           The Plan divides the Claims against and Interests in the Debtors into nine (9) separate

                                                                    26   Classes (with subclasses for each Debtor’s case) and identifies which Classes are entitled to vote on

                                                                    27   the Plan. All of the potential Classes are set forth in Sections II.B. and C. therein.

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                                                                     1           4.         Chart Describing Treatment of Claims

                                                                     2           The following table designates Unclassified Claims, the Classes of Claims against and

                                                                     3   Interests in the Debtors, and specifies which Classes are (a) Impaired or Unimpaired by the Plan, (b)

                                                                     4   entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code,

                                                                     5   or (c) deemed to accept or reject the Plan. Recovery amounts listed below are estimated

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                                                                     1                                          TREATMENT OF CLAIMS CHART
                                                                     2                                            Estimate of Claims and
                                                                                  Class      Description                                               Plan Treatment
                                                                                                                         Recoveries
                                                                     3            N/A       Allowed            Estimated Recovery on       Except as specified in Section II.A.1 of
                                                                                            Administrative     Allowed Claims in this      the Plan, and subject to Section II.A.1.f
                                                                     4                      Claims             category: 100%              of the Plan and subject to the bar date
                                                                                                                                           provisions therein, unless otherwise
                                                                     5                                                                     agreed by the Holder of an
                                                                                                                                           Administrative Claim and the Plan
                                                                     6                                                                     Proponents, each Holder of an Allowed
                                                                                                                                           Administrative Claim shall receive, in
                                                                                                                                           full satisfaction of its Administrative
                                                                     7                                                                     Claim, Cash equal to the Allowed
                                                                                                                                           amount of such Administrative Claim on
                                                                     8                                                                     either (i) the latest to occur of (A) the
                                                                                                                                           Effective Date (or as soon thereafter as
                                                                     9                                                                     practicable), (B) the date such Claim
                                                                                                                                           becomes an Allowed Administrative
                                                                    10                                                                     Claim, and (C) such other date as may
                                                                                                                                           be agreed upon by the Plan Proponents
                                                                    11                                                                     and the Holder of such Administrative
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                                                                                                                                           Claim or (ii) on such other date as the
                                                                    12                                                                     Bankruptcy Court may order.
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                                                                    13                                                                     Administrative Claims based on
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                                                                                                                                           liabilities incurred by a Debtor in the
                                                                    14                                                                     ordinary course of its business on or
                                                                                                                                           after the Petition Date, including
                                                                    15                                                                     Administrative Claims arising from or
                                                                                                                                           with respect to the sale of goods or
                                                                    16                                                                     provision of services on or after the
                                                                                                                                           Petition Date, Administrative Claims of
                                                                    17                                                                     governmental units for Taxes (including
                                                                                                                                           Tax Claims related to Tax years or
                                                                                                                                           portions thereof ending after the Petition
                                                                    18
                                                                                                                                           Date), Administrative Claims arising
                                                                                                                                           under Executory Contracts and
                                                                    19                                                                     Unexpired Leases, shall be paid by the
                                                                                                                                           applicable Reorganized Debtor, pursuant
                                                                    20                                                                     to the terms and conditions of the
                                                                                                                                           particular transaction giving rise to those
                                                                    21                                                                     Administrative Claims, without further
                                                                                                                                           action by the Holders of such
                                                                    22                                                                     Administrative Claims or further
                                                                                                                                           approval by the Bankruptcy Court.
                                                                    23                                                                     Holders of the foregoing Administrative
                                                                                                                                           Claims shall not be required to File or
                                                                    24                                                                     serve any request for payment of such
                                                                                                                                           Administrative Claims. Plan, § II.A.1.
                                                                    25

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                                                                     1                                        TREATMENT OF CLAIMS CHART
                                                                     2                                          Estimate of Claims and
                                                                                  Class      Description                                             Plan Treatment
                                                                                                                       Recoveries
                                                                     3            N/A       Allowed          Estimated Recovery on       Pursuant to section 1129(a)(9)(C) of the
                                                                                            Priority Tax     Allowed Claims in this      Bankruptcy Code, unless otherwise
                                                                     4                      Claims           category: 100%              agreed by the Holder of a Priority Tax
                                                                                                                                         Claim and the Plan Proponents, each
                                                                     5                                                                   Holder of an Allowed Priority Tax
                                                                                                                                         Claim shall receive, at the option of the
                                                                     6                                                                   Plan Proponents, in full satisfaction of
                                                                                                                                         its Allowed Priority Tax Claim that is
                                                                                                                                         due and payable on or before the
                                                                     7                                                                   Effective Date, on account of and in full
                                                                                                                                         and complete settlement, release and
                                                                     8                                                                   discharge of such Claim, (i) Cash in an
                                                                                                                                         amount equal to the amount of such
                                                                     9                                                                   Allowed Priority Tax Claim or (ii) Cash
                                                                                                                                         in an aggregate amount of such Allowed
                                                                    10                                                                   Priority Tax Claim payable in
                                                                                                                                         installment payments over a period of
                                                                    11                                                                   time not to exceed five years after the
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                                                                                                                                         Petition Date, pursuant to section
                                                                    12                                                                   1129(a)(9)(C) of the Bankruptcy Code;
                                                                                                                                         provided, however, that all Allowed
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                                                                    13                                                                   Priority Tax Claims that are not due and
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                                                                                                                                         payable on or before the Effective Date
                                                                    14                                                                   shall be paid in the ordinary course of
                                                                                                                                         business by the Reorganized Debtors as
                                                                    15                                                                   they become due; provided, further, that,
                                                                                                                                         in the event an Allowed Priority Tax
                                                                    16                                                                   Claim is also a Secured Tax Claim, such
                                                                                                                                         Claim shall, to the extent it is Allowed,
                                                                    17                                                                   be treated as an Other Secured Claim if
                                                                                                                                         such Claim is not otherwise paid in full.
                                                                    18
                                                                                                                                         Notwithstanding Section II.A.2.a of the
                                                                                                                                         Plan, any Claim on account of any
                                                                    19                                                                   penalty arising with respect to or in
                                                                                                                                         connection with an Allowed Priority
                                                                    20                                                                   Tax Claim that does not compensate the
                                                                                                                                         Holder for actual pecuniary loss shall be
                                                                    21                                                                   treated as a General Unsecured Claim,
                                                                                                                                         and the Holder (other than as the Holder
                                                                    22                                                                   of a General Unsecured Claim) may not
                                                                                                                                         assess or attempt to collect such penalty
                                                                    23                                                                   from the Reorganized Debtors or their
                                                                                                                                         respective property. Plan, § II.A.2.
                                                                    24

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                                                                     1                                           TREATMENT OF CLAIMS CHART
                                                                     2                                             Estimate of Claims and
                                                                                  Class      Description                                                    Plan Treatment
                                                                                                                         Recoveries
                                                                     3           1A, 1B     Priority Claims     Estimated Recovery on           On the later of (x) the Effective Date
                                                                                                                Allowed Claims in this Class:   and (y) the date on which such Priority
                                                                     4                                          100%                            Claim becomes an Allowed Priority
                                                                                                                                                Claim, unless otherwise agreed to by the
                                                                     5                                          UNIMPAIRED                      Plan Proponents and the Holder of an
                                                                                                                                                Allowed Priority Claim, each Holder of
                                                                     6                                          NOT ENTITLED                    an Allowed Priority Claim against a
                                                                                                                TO VOTE                         Debtor shall receive on account and in
                                                                                                                                                full and complete settlement, release and
                                                                     7                                                                          discharge of such Claim, at the Debtors’
                                                                                                                                                election, Cash in the amount of such
                                                                     8                                                                          Allowed Priority Claim in accordance
                                                                                                                                                with section 1129(a)(9) of the
                                                                     9                                                                          Bankruptcy Code. All Allowed Priority
                                                                                                                                                Claims against the Debtors that are not
                                                                    10                                                                          due and payable on or before the
                                                                                                                                                Effective Date shall be paid by the
                                                                    11                                                                          Reorganized Debtors when such Claims
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                                                                                                                                                become due and payable in the ordinary
                                                                    12                                                                          course of business in accordance with
                                                                                                                                                the terms thereof. Plan, § II.C.1.
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                                                                    13           2A, 2B     Other Secured       Estimated Recovery on           Unless otherwise agreed by the Holder
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                                                                                            Claims              Allowed Claims in this Class:   of an Other Secured Claim and the Plan
                                                                    14                                          100%                            Proponents, on the Effective Date or as
                                                                                                                                                soon as reasonably practicable
                                                                    15                                          UNIMPAIRED                      thereafter, each Holder of an Other
                                                                                                                                                Secured Claim shall receive the
                                                                    16                                          NOT ENTITLED TO                 following treatment at the option of the
                                                                                                                VOTE                            Debtors: (i) such Allowed Other
                                                                    17                                                                          Secured Claim shall be Reinstated;
                                                                                                                                                (ii) payment in full (in Cash) of any such
                                                                    18                                                                          Allowed Other Secured Claim;
                                                                                                                                                (iii) satisfaction of any such Allowed
                                                                                                                                                Other Secured Claim by delivering the
                                                                    19                                                                          collateral securing any such Allowed
                                                                                                                                                Other Secured Claim and paying any
                                                                    20                                                                          interest required to be paid under
                                                                                                                                                section 506(b) of the Bankruptcy Code;
                                                                    21                                                                          or (iv) such other recovery necessary to
                                                                                                                                                satisfy section 1129 of the Bankruptcy
                                                                    22                                                                          Code. Plan, § II.C.2.

                                                                    23

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                                                                     1                                        TREATMENT OF CLAIMS CHART
                                                                     2                                          Estimate of Claims and
                                                                                  Class      Description                                                 Plan Treatment
                                                                                                                      Recoveries
                                                                     3           3A, 3B     Prepetition      Estimated Recovery on
                                                                                            Note Secured     Allowed Claims in this Class:   Unless otherwise agreed by JIG and the
                                                                     4                      Claims           100%                            Debtors as to treatment that is no more
                                                                                                                                             favorable to JIG than what is provided
                                                                     5                                       IMPAIRED                        in this Class 3, on the Effective Date or
                                                                                                                                             as soon as reasonably practicable
                                                                     6                                       ENTITLED                        thereafter, and subject to the terms of the
                                                                                                             TO VOTE                         Plan, in full and final satisfaction,
                                                                                                                                             settlement, release and discharge of, and
                                                                     7
                                                                                                                                             in exchange for the Prepetition Note
                                                                                                                                             Secured Claim, the Prepetition Note
                                                                     8                                                                       Claim shall be Allowed, and JIG shall
                                                                                                                                             receive the following treatment: (i)
                                                                     9                                                                       Reorganized Blue Earth Equity Interests
                                                                                                                                             such that when combined with the
                                                                    10                                                                       conversion, if any, of the Allowed DIP
                                                                                                                                             Claim into Reorganized Blue Earth
                                                                    11                                                                       Equity Interests, JIG receives 100% of
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                                                                                                                                             the Reorganized Blue Earth Equity
                                                                    12                                                                       Interests in an aggregate value of $1
                                                                                                                                             million; (ii) assumption of an amount of
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                                                                    13                                                                       the Allowed Prepetition Note Secured
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                                                                                                                                             Claim into an equal amount of the Exit
                                                                    14                                                                       Contingent Note, such that the amount
                                                                                                                                             assumed will be the difference between
                                                                    15                                                                       (x) $8 million and (y) the amounts of the
                                                                                                                                             Allowed DIP Claim and Plan Funding
                                                                    16                                                                       Amount assumed into the Exit
                                                                                                                                             Contingent Note; and (iii) the balance
                                                                    17                                                                       after clauses (i) and (ii) above of the
                                                                                                                                             Prepetition Note Secured Claim shall be
                                                                    18                                                                       the amount of the Allowed JIG
                                                                                                                                             Deficiency Claim. Plan, § II.C.3.
                                                                    19

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                                                                     1                                        TREATMENT OF CLAIMS CHART
                                                                     2                                          Estimate of Claims and
                                                                                  Class      Description                                                  Plan Treatment
                                                                                                                      Recoveries
                                                                     3           4A, 4B     General          Estimated Recovery on           Unless otherwise agreed by the Holder
                                                                                            Unsecured        Allowed Claims in this Class:   of a General Unsecured Claim and the
                                                                     4                      Claims           Option 1: 30% upon              Plan Proponents, each Holder of an
                                                                                                             allowance                       Allowed General Unsecured Claim in
                                                                     5                                                                       Class 4 shall receive either: OPTION 1
                                                                                                             or                              – a one-time payment in an amount of
                                                                     6                                                                       Cash equal to thirty percent (30%) of
                                                                                                             Option 2: 5% upon allowance     such Holder’s Allowed General
                                                                                                             and up to 100% plus interest,   Unsecured Claim following the later of
                                                                     7                                                                       the Claims Objection Deadline and the
                                                                                                             only from distributions from
                                                                                                                                             date such General Unsecured Claim
                                                                     8                                       Litigation Trust
                                                                                                                                             becomes Allowed; or OPTION 2 – a
                                                                                                                                             one-time payment in an amount of Cash
                                                                     9                                       IMPAIRED
                                                                                                                                             equal to five percent (5%) of such
                                                                                                                                             Holder’s Allowed General Unsecured
                                                                    10                                       ENTITLED TO VOTE                Claim following the later of the Claims
                                                                                                                                             Objection Deadline and the date such
                                                                    11                                                                       General Unsecured Claim becomes
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                                                                                                                                             Allowed, plus such Holder’s Pro Rata
                                                                    12                                                                       share of the Litigation Trust Assets
                                                                                                                                             including interest at the Federal Interest
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                                                                    13                                                                       Rate accruing from and after the
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                                                                                                                                             Effective Date. At any time prior to
                                                                    14                                                                       such Holder receiving 100% of such
                                                                                                                                             Holder’s Allowed General Unsecured
                                                                    15                                                                       Claim plus interest, Reorganized Blue
                                                                                                                                             Earth may, at its option, make a one-
                                                                    16                                                                       time payment to all Litigation Trust
                                                                                                                                             Beneficiaries of the Litigation Trust
                                                                    17                                                                       Assets in an amount of Cash equal to the
                                                                                                                                             difference between 100% of such
                                                                                                                                             Holder’s Allowed General Unsecured
                                                                    18
                                                                                                                                             Claim plus interest and the amount of
                                                                                                                                             distributions such Holder has already
                                                                    19                                                                       received under Option 2, such that each
                                                                                                                                             Litigation Trust Beneficiary receives
                                                                    20                                                                       100% of such Holder’s Allowed General
                                                                                                                                             Unsecured Claim plus interest at the
                                                                    21                                                                       Federal Interest Rate accruing from and
                                                                                                                                             after the Effective Date through and
                                                                    22                                                                       including the date such payment is
                                                                                                                                             made. Holders of General Unsecured
                                                                    23                                                                       Claims entitled to vote in Class 4 that
                                                                                                                                             timely vote may elect between Option 1
                                                                    24                                                                       and Option 2 on their Ballot. All
                                                                                                                                             Holders of General Unsecured Claims
                                                                    25                                                                       that either fail to vote, or vote but fail to
                                                                                                                                             make a timely election, shall receive the
                                                                    26                                                                       treatment in Option 1..The Allowed JIG
                                                                                                                                             Deficiency Claim shall receive the
                                                                    27                                                                       treatment in Option 2. Plan, § II.C.4.

                                                                    28

                                                                                                                                15
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                                                                     1                                            TREATMENT OF CLAIMS CHART
                                                                     2                                              Estimate of Claims and
                                                                                  Class      Description                                                     Plan Treatment
                                                                                                                          Recoveries
                                                                     3           5A, 5B     D&O Claims           Estimated Recovery on           In full satisfaction of Class 5A and 5B
                                                                                                                 Allowed Claims in this Class:   D&O Claims, the automatic stay and the
                                                                     4                                           (N/A)%                          discharge injunction, to the extent
                                                                                                                                                 applicable, shall be lifted to allow the
                                                                     5                                           IMPAIRED                        D&O Insurers to pay Defense Costs and
                                                                                                                                                 any Loss (as such terms are defined in
                                                                     6                                           ENTITLED TO VOTE                the D&O Policies) pursuant to the terms
                                                                                                                                                 of the D&O Policies and the D&O
                                                                                                                                                 Insurers’ Obligations to the Individual
                                                                     7                                                                           Insureds (as such term is defined in the
                                                                                                                                                 D&O Policies) under the D&O Policies;
                                                                     8                                                                           Holders of Class 5A and 5B D&O
                                                                                                                                                 Claims shall not receive any payment
                                                                     9                                                                           from the Estate, Litigation Trust or the
                                                                                                                                                 Reorganized Debtors on account of their
                                                                    10                                                                           D&O Claims. Plan, § II.C.5.
                                                                                   6A       Section 510          Estimated Recovery on           No property shall be distributed to or
                                                                    11                      Claims               Allowed Claims in this Class:   retained by the Holders of Section 510
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                                                                                                                 0%                              Claims, and such Claims shall be
                                                                    12                                                                           extinguished on the Effective Date.
                                                                                                                                                 Holders of Section 510 Claims shall not
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                                                                                                                 IMPAIRED
                                                                    13                                                                           receive any distribution pursuant to the
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                                                                                                                 DEEMED TO REJECT                Plan. Plan, § II.C.6.
                                                                    14
                                                                                 7A, 7B     Intercompany         Estimated Recovery on           On the Effective Date or as soon as
                                                                    15                      Claims               Allowed Claims in this Class:   reasonably practicable thereafter, all
                                                                                                                 (N/A)%                          Intercompany Claims may be
                                                                    16                                                                           extinguished or compromised by
                                                                                                                 UNIMPAIRED                      distribution, contribution or otherwise,
                                                                    17                                                                           at the discretion of the Debtors or the
                                                                                                                 DEEMED TO ACCEPT                Reorganized Debtors, as the case may
                                                                    18                                                                           be, on or after the Effective Date. Plan,
                                                                                                                                                 § II.C.7.
                                                                    19             8A       Blue Earth           Estimated Recovery on           On the Effective Date or as soon as
                                                                                            Interests            Allowed Claims in this Class:   reasonably practicable thereafter, all
                                                                    20                                           0%                              Blue Earth Interests shall be cancelled
                                                                                                                                                 and extinguished. Holders of Blue Earth
                                                                    21                                           IMPAIRED                        Interests shall not receive any
                                                                                                                                                 distribution pursuant to the Plan. Plan, §
                                                                    22                                           DEEMED TO REJECT                II.C.8.
                                                                                   9B       BE Tech              Estimated Recovery on           On the Effective Date, all BE Tech
                                                                    23                      Equity Interests     Allowed Claims in this Class:   Equity Interests shall not receive any
                                                                                                                 (N/A) %                         distribution pursuant to the Plan and
                                                                    24                                                                           shall be Reinstated, subject to Section
                                                                                                                 UNIMPAIRED                      III.C.1 of the Plan. Plan, § II.C.9.
                                                                    25
                                                                                                                 DEEMED TO ACCEPT
                                                                    26

                                                                    27

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                                                                     1   C.      Other Plan Provisions

                                                                     2           1.         Means for Implementation of the Plan; Litigation Trust

                                                                     3           The Plan discusses how the Debtors’ reorganization will be implemented, including the

                                                                     4   conversion of Blue Earth to a privately-held entity, the cancellation of existing equity Interests in

                                                                     5   Blue Earth and the distribution and issuance of new Interests in Reorganized Blue Earth to JIG.

                                                                     6   Plan, §§ III.A., C. Holders of General Unsecured Claims may elect one of two treatment options for

                                                                     7   their Claims: either a one-time Cash payment equal to thirty percent (30%) of the Allowed Claim

                                                                     8   amount or a five percent (5%) Cash payment plus a Pro Rata share of an interest in a Litigation

                                                                     9   Trust. Plan, § II.C.4.

                                                                    10           The Plan provides for the creation of a Litigation Trust for the purpose of investigating and

                                                                    11   prosecuting Trust Causes of Action that may result in distributions to Holders of Allowed General
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                                                                    12   Unsecured Claims in Class 4A or 4B that properly elect treatment Option 2. Plan, § III.G. Bradley
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                                                                    13   D. Sharp, Sr., a Managing Director of Development Specialists, Inc., has been asked by the Plan
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                                                                    14   Proponents to act as the Litigation Trustee of the Litigation Trust. Plan, § I.A.74. The powers,

                                                                    15   rights and responsibilities of the Litigation Trustee will be specified in the Litigation Trust

                                                                    16   Agreement.

                                                                    17           2.         Exit Contingent Note

                                                                    18           The Plan describes Reorganized Blue Earth’s assumption of $8 million of debt, first from the

                                                                    19   Allowed DIP Claim in the amount that is not converted to Reorganized Blue Earth Equity Interests,

                                                                    20   second from the full amount of the Plan Funding Amount, and third from a portion of the Allowed

                                                                    21   Prepetition Note Secured Claim as described in the Exit Contingent Note Documents. Plan, §§

                                                                    22   I.A.50., III.D.

                                                                    23           3.         Sources of Cash for Plan Distributions

                                                                    24           Distributions of Cash under the Plan shall come from the JIG in the form of the Plan Funding

                                                                    25   Amount, which will constitute the primary funding mechanism for the payment obligations under the

                                                                    26   Plan. In addition, payment obligations under the Plan may be funded through a combination of one

                                                                    27   or more of the following: (a) Cash on hand of the Debtors, including Cash from business

                                                                    28   operations, or distributions from Non-Debtor Affiliates, (b) proceeds of any new equity

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                                                                     1   contributions, (c) the proceeds of tax refunds and Retained Causes of Action and (d) any other

                                                                     2   means of financing or funding that the Debtors or Reorganized Debtors determine is necessary or

                                                                     3   appropriate, subject to the terms of the Exit Contingent Note Documents. Holders of General

                                                                     4   Unsecured Claims electing treatment Option 2 in Class 4, may also receive subsequent distributions

                                                                     5   on account of their interest in the Litigation Trust. Plan, § III.E.

                                                                     6           4.         Directors and Officers of the Reorganized Debtors

                                                                     7           From and after the Effective Date, the initial officers of Reorganized Blue Earth shall be

                                                                     8   comprised of the individuals identified as Exhibit “F” to the Plan and Filed as part of the Plan

                                                                     9   Supplement. The New Board of Reorganized Blue Earth and Reorganized BE Tech shall initially

                                                                    10   consist of one (1) director for each board, Richard L. Jackson.

                                                                    11           As of the date of the Plan, JIG has had discussions with G. Robert Powell, the Debtors’
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                                                                    12   current Chief Executive Officer, regarding his employment following the Effective Date. The nature
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                                                                    13   of compensation discussed was similar to Mr. Powell’s current compensation, including base pay, a
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                                                                    14   bonus and equity options. Plan, § III.F.2. While JIG has not had any specific discussions with

                                                                    15   Judith Hall regarding the terms and conditions of her employment after the Effective Date, it is

                                                                    16   anticipated, subject to agreeable employment terms being reached, that she will serve as Chief Legal

                                                                    17   Officer following the Effective Date.

                                                                    18           5.         Preservation of Causes of Action/Releases

                                                                    19           The Plan makes clear that all Causes of Action (other than those expressly waived,

                                                                    20   relinquished, released, compromised or settled in the Plan or any Final Order) are expressly reserved

                                                                    21   and either retained by the Reorganized Debtors (the Retained Causes of Action) or transferred to the

                                                                    22   Litigation Trust (the Trust Causes of Action). Plan, § III.H. The List of Trust Causes of Action may

                                                                    23   be found in Exhibit “D” to the Plan.

                                                                    24           The Plan contains releases for JIG and its related parties and for two individuals who

                                                                    25   currently are involved with the management of the Debtors – G. Robert Powell and Judith Hall. The

                                                                    26   Creditors’ Committee is investigating claims against JIG and the Debtors will conduct an

                                                                    27   independent analysis of any potential claims released against Powell and Hall, and will present

                                                                    28   evidence regarding the propriety of such releases in connection with Confirmation.

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                                                                     1           6.         Executory Contracts and Leases

                                                                     2           The Plan contains provisions that govern the assumption or rejection of Executory Contracts

                                                                     3   and Unexpired Leases, including procedures for submitting unsecured claims arising from rejection

                                                                     4   damages and disputing amounts needed to “cure” Executory Contracts or Unexpired Leases to be

                                                                     5   assumed. Plan, § IV.

                                                                     6           7.         Allowed, Disputed or Unliquidated Claims

                                                                     7           The Plan describes how Claims will be addressed after the Effective Date, including how the

                                                                     8   Reorganized Debtors and the Litigation Trustee will retain all defenses to such Claims held by the

                                                                     9   Debtors, the reservation of rights to object to any Disputed Claim and to estimate any unliquidated

                                                                    10   Claim. Plan, § VI.

                                                                    11           8.         Conditions to the Effective Date
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                                                                    12           The Plan will not become effective unless certain conditions have been satisfied or waived by
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                                                                    13   the Plan Proponents, including, among others, entry of a Confirmation Order not subject to stay, the
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                                                                    14   execution and delivery of all Exit Contingent Note Documents, New Securities and Documents and

                                                                    15   Litigation Trust, and the payment of all statutory fees and obligations then due to the Office of the

                                                                    16   United States Trustee. Plan, § VII.B.

                                                                    17           9.         Non-Consensual Confirmation

                                                                    18           In the event that any Impaired Class of Claims or Interests rejects or is deemed to reject the

                                                                    19   Plan, the Plan Proponents reserve the right to request that the Bankruptcy Court nevertheless confirm

                                                                    20   the Plan in accordance with the so-called “cram down” provisions found in section 1129(b) of the

                                                                    21   Bankruptcy Code and/or amend the Plan. Plan, § VIII.

                                                                    22           10.        Effect of Confirmation

                                                                    23           Confirmation of the Plan will impact significantly the rights of the Debtors, Holders of

                                                                    24   Claims and Interests and other parties in interest. For example, as discussed in the Plan,

                                                                    25   Confirmation will result in (a) the dissolution of the Creditors’ Committee; (b) the discharge of all

                                                                    26   Claims and Interests in exchange for the treatment afforded such Claims and Interests in the Plan; (c)

                                                                    27   the issuance of an injunction precluding all Holders of Claims or Interests and other parties in

                                                                    28   interest from taking any action against the Debtors, the Reorganized Debtors and other parties on

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                                                                     1   account of any such Liabilities; (d) the exculpation of the Debtors, Creditors’ Committee, Prepetition

                                                                     2   Secured Lender, DIP Lender and their representatives with respect to matters arising during the

                                                                     3   Chapter 11 Cases, the Plan and related matters; and (e) the Debtors’ release of G. Robert Powell

                                                                     4   (Blue Earth’s Chief Executive Officer), Judith Hall (Blue Earth’s Chief Legal Officer), the DIP

                                                                     5   Lender, Prepetition Secured Lender and their Representatives. Plan, § IX.

                                                                     6           11.        Retention of Jurisdiction

                                                                     7           The Plan provides that, after the Effective Date, the Bankruptcy Court will retain jurisdiction

                                                                     8   over a variety of matters enumerated in the Plan. Plan, § X.

                                                                     9                                                     III.

                                                                    10                                OVERVIEW OF THE CHAPTER 11 CASES

                                                                    11           This section of the Disclosure Statement discusses the significant events in the Chapter 11
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                                                                    12   Cases to date, including events leading up to the commencement of these Chapter 11 Cases. Copies
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                                                                    13   of all relevant court papers are on File with the Bankruptcy Court and can be accessed free of charge
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                                                                    14   at http://www.kccllc.net/blueearth/document/list/4240.

                                                                    15   A.      Events Leading Up to the Filing of the Chapter 11 Cases

                                                                    16           1.         Overview of the Debtor’s Business

                                                                    17           Blue Earth and its subsidiaries, is a provider of alternative/renewable energy solutions for

                                                                    18   small and medium-sized commercial and industrial facilities. Blue Earth builds, manages, owns and

                                                                    19   operates independent power generation and management systems geared towards helping

                                                                    20   commercial and industrial building owners save energy and money, and reduce their carbon

                                                                    21   footprint. Blue Earth solutions include Solar, Combined Heat and Power, Co-Generation, Control

                                                                    22   Systems and next-generation, environmentally friendly Battery Backup and Storage Systems.

                                                                    23           As the company grew, Blue Earth expanded its comprehensive energy solutions offerings

                                                                    24   through strategic acquisitions of companies that had been providing energy solutions to an

                                                                    25   established customer base or developed a proprietary technology that can be utilized by customers to

                                                                    26   improve equipment reliability, reduce maintenance costs and provide a better overall operating

                                                                    27   environment. The primary strategic objective for the respective business units was to provide

                                                                    28   comprehensive energy solutions for building owners and occupants that combine Solar, Combined

                                                                                                                           20
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                                                                     1   Heat and Power Generators, and Battery Storage into a single product that can reduce a building’s

                                                                     2   utility derived energy usage and, therefore, its carbon footprint.

                                                                     3           Historically, the acquired companies’ operational activities were conducted through the

                                                                     4   following three business units: Blue Earth Solar (“BE Solar”); Blue Earth Combined Heat and

                                                                     5   Power (“BE CHP”); and EnSite Power. Blue Earth and its affiliates operated the following business

                                                                     6   divisions:

                                                                     7                      a.   BE Solar: BE Solar is the PhotoVoltaic (PV) division for engineering,

                                                                     8                           procurement and construction (EPC) of distributed solar energy generation for

                                                                     9                           commercial and industrial customers. Distributed Solar PV systems offer

                                                                    10                           customers the benefit of producing their electricity needs onsite, thereby

                                                                    11                           reducing their dependence on the power grid for their energy requirements.
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                                                                    12                           BE Solar builds, owns and operates the power plant or builds it for the
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                                                                    13                           customer to own. BE Solar has built and owned a 500,000 watt solar powered
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                                                                    14                           facility on the Island of Oahu, Hawaii, which it sold in 2014. BE Solar has

                                                                    15                           also bought and sold the Lenape II solar project in Indianapolis, Indiana and is

                                                                    16                           acting as the engineering, procurement and construction (EPC) contractor for

                                                                    17                           the latter project. It has also built, operated and manages solar powered

                                                                    18                           facilities in California. Services offered included the development,

                                                                    19                           engineering, construction, operation and periodic warranty maintenance and,

                                                                    20                           in certain cases, financing of small and medium scale alternative/renewable

                                                                    21                           energy plants including solar photovoltaic (PV), Combined Heat and Power

                                                                    22                           (“CHP”) or on-site cogeneration. Currently, BE Solar is not active other than

                                                                    23                           with respect to its contracts with SunValley Solar, Inc., relating to five PV

                                                                    24                           installations in Southern California.

                                                                    25                      b.   BE CHP: BE CHP builds and operates combined heat and power plants for

                                                                    26                           larger manufacturing and processing facilities. BE CHP designs, engineers,

                                                                    27                           and constructs co-generation systems to match the thermal requirements of the

                                                                    28                           host facility. BE CHP’s business is premised on taking electricity produced in

                                                                                                                            21
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                                                                     1                            excess of the facility requirements and then selling it back to the local power

                                                                     2                            utility. Customers sign long-term power and thermal purchase agreements to

                                                                     3                            fix costs. BE CHP owns and operates the co-generation system and performs

                                                                     4                            all engineering and construction work at no cost to the host. Currently, BE

                                                                     5                            CHP has one operational project in Sumter, South Carolina, and one project

                                                                     6                            under development in Brooks, Alberta (Canada).

                                                                     7                      c.    EnSite: Through two of its subsidiaries, EnSite Power, Inc. (“EnSite”) offers

                                                                     8                            battery backup technologies with Nickel-Zinc chemistry in addition to

                                                                     9                            hardware and software to monitor and control electro-mechanical equipment.

                                                                    10                            EnSite focuses on uninterruptible power supplies for Traffic and Data Center

                                                                    11                            industries, hardware and software to monitor and control electro-mechanical
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                                                                    12                            systems for Building Energy Management Systems.
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                                                                    13           2.         Corporate Organization and Ownership
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                                                                    14           Blue Earth’s sole executive officer is G. Robert Powell (Chief Executive Officer).

                                                                    15           The company’s Directors are: Laird Q. Cagan (Chairman), G. Robert Powell, Robert C.

                                                                    16   Potts, Michael W. Allman, James A. Kelly and Alan P. Krusi.

                                                                    17           Blue Earth, a Nevada corporation, is a holding company that owns 100% of the outstanding

                                                                    18   shares of thirteen direct subsidiaries and 72% of EnSite either engaged in the on-going business

                                                                    19   activities of the company or having no current operations and, therefore, slated for dissolution. Blue

                                                                    20   Earth’s stock has been publicly-traded on The Nasdaq Stock Market under the symbol

                                                                    21   BBLU. However, on September 15, 2015, Blue Earth received a letter from Nasdaq stating that the

                                                                    22   bid price of the company’s common stock for the prior 30 consecutive trading days had closed below

                                                                    23   the minimum $1.00 per share required for continued listing. On March 16, 2016, Blue Earth

                                                                    24   received a staff determination letter from Nasdaq stating that it did not appear to Nasdaq that it is

                                                                    25   possible for Blue Earth to cure the bid price deficiency required for continued listing. Upon its

                                                                    26   bankruptcy filing, Blue Earth was delisted under Nasdaq Listing Rules 5101, 5110(b), and IM 5101-

                                                                    27   1, effective at the opening of business on March 28, 2016. Blue Earth’s common stock was

                                                                    28   suspended and was thereby removed from listing and registration on The Nasdaq Stock Market.

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                                                                     1           On April 8, 2016, Nasdaq filed Form 25 with the Securities and Exchange Commission to

                                                                     2   remove Blue Earth common stock from listing and/or registration under Section 12(b) of the

                                                                     3   Securities Exchange Act of 1934, effective on April 18, 2016.

                                                                     4           Blue Earth’s direct subsidiaries are:

                                                                     5                      a.     Blue Earth Capital, Inc., a Nevada corporation, has no business operations or

                                                                     6                             assets other than intercompany receivables;

                                                                     7                      b.     Blue Earth CHP, Inc., a Utah corporation, operates the company’s BE CHP

                                                                     8                             business unit. It is the 100% owner of nine subsidiaries all of which relate to

                                                                     9                             co-generation plants: Eight are Nevada limited liability companies (Live Oak

                                                                    10                             Heat & Power, LLC; Marshalltown Heat & Power, LLC; Mt. Pleasant Heat &

                                                                    11                             Power, LLC; Plainwell Heat & Power, LLC; Souderton Heat & Power LLC;
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                                                                    12                             Sumter Heat & Power, LLC (“Sumter”); Tolleson Heat & Power, LLC; and
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                                                                    13                             Worthington Heat & Power, LLC); one subsidiary, Brooks Heat & Power
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                                                                    14                             Ltd., is a British Columbia, Canada corporation (“Brooks”). None of the

                                                                    15                             subsidiaries has a binding contract with a customer and, as such, has no value,

                                                                    16                             with the exceptions of Sumter and Brooks. According to a “Business

                                                                    17                             Enterprise Valuation of Blue Earth’s CHP Facilities,” dated as of April 18,

                                                                    18                             2016, prepared by EOS Capital Advisors LLC, the fair market values of the

                                                                    19                             business assets of (a) Sumter are $750,000.00 (discounted cash flow value)

                                                                    20                             and (b) Brooks are $2,000,000.00 (dissolution value), net of a mechanic’s lien

                                                                    21                             of approximately $1,600,000;3

                                                                    22                      c.     Blue Earth Generator, Inc., a Nevada corporation, utilized experienced

                                                                    23                             consultants, developers, engineers, service technicians and financial

                                                                    24                             professionals to provide customers with services necessary in completing and

                                                                    25                             running a successful power generation system. The company is based in New

                                                                    26                             York and also leased property in New Jersey to store inventory and

                                                                    27
                                                                         3
                                                                    28    The value of Brooks represents a midpoint value in the range of $1,600,000 on the low end and $2,400,000 on the high
                                                                         end, net of the mechanic’s lien.
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                                                                     1                               equipment, to make repairs and conduct other maintenance activities. The

                                                                     2                               company ceased operations, but continues to realize the benefits of existing

                                                                     3                               contracts that are cash flow positive. The Debtors estimate the fair market

                                                                     4                               value of Blue Earth Generator, Inc., to be approximately $280,400, not

                                                                     5                               including costs of liquidating the company’s assets, which are fully

                                                                     6                               encumbered by liens;

                                                                     7                       d.      Blue Earth Solar, Inc., a California corporation, operates the company’s BE

                                                                     8                               Solar business unit. It owns two subsidiaries: Blue Earth Solar Oregon, LLC,

                                                                     9                               a Nevada limited liability company, and ecoLegacy Gas & Power, LLC, a

                                                                    10                               California limited liability company which has no current business operations.

                                                                    11                               The company has no valuable assets except for contracts with SunValley
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                                                                    12                               Solar, Inc., relating to five PV installations in Southern California, which
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                                                                    13                               result in stream of payment receivables collectible over the next three years in
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                                                                    14                               the estimated amount of approximately $1.3 million after certain expenses;

                                                                    15                       e.      Blue Earth Tech, Inc., a Nevada corporation, employs, pays and provides

                                                                    16                               health and other benefits to nearly all employees of Blue Earth and its

                                                                    17                               subsidiaries (with the exception of EnSite). BE Tech borrows from Blue

                                                                    18                               Earth to fund payroll obligations and holds intercompany receivables from

                                                                    19                               affiliates largely on account of payroll liabilities. BE Tech is a debtor in these

                                                                    20                               Chapter 11 Cases;

                                                                    21                       f.      EnSite,4 a Delaware corporation, is a pre-revenue company that owns two

                                                                    22                               technology business units and the proprietary technology assets. Specifically,

                                                                    23                               EnSite owns Blue Earth Energy Power Solutions, LLC, an Oregon limited

                                                                    24                               liability company, which includes the UPStealth® NiZn Battery

                                                                    25                               Management/Backup System, as well as Blue Earth Power Performance

                                                                    26                               Solutions, Inc., an Oregon corporation, which includes the Real-Time

                                                                    27                               Intelligence Edge (RTi Edge™) Building Energy Management System. The

                                                                    28
                                                                         4
                                                                             Blue Earth owns approximately 72% of the equity interests in EnSite.
                                                                                                                                     24
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                                                                     1                               majority of EnSite employees are located in Wilsonville, Oregon, where the

                                                                     2                               company manufactures its UPStealth® NiZn based intelligent digital battery

                                                                     3                               backup system for signalized traffic intersections, and the RTi Edge™

                                                                     4                               Building Energy Management System. As of October 2014, EnSite owns a

                                                                     5                               24.4% interest in PowerGenix Systems, Inc. (“PowerGenix”), a Delaware

                                                                     6                               corporation. According to an “Appraisal Report As of April 4, 2016,”

                                                                     7                               prepared by Ice Glen Associates, LLC, the fair market value of the 20,250,000

                                                                     8                               shares of common stock held by Blue Earth in EnSite (representing a 72%

                                                                     9                               ownership interest) is $4,860,000.00 (market-based value);

                                                                    10                      g.       E2B Growth, Inc., a Nevada corporation, has no business operations;

                                                                    11                      h.       Maili PV-01 LLC, a Hawaii limited liability company; and Maili PV-03
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                                                                    12                               Limited; Maili PV-05 Limited; Maili PV-06 Limited; and Makaha PV-02
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                                                                    13                               Limited, each a Hawaii corporation, relate to the following solar projects,
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                                                                    14                               respectively: Melga Solar Project, RNI1 Solar Project; Sabrina Solar Project;

                                                                    15                               Cozzens Solar Project; and Kamata Solar Project;

                                                                    16                      i.       Blue Earth Energy Management Services, Inc., a California corporation: This

                                                                    17                               entity has no business operations; and

                                                                    18                      j.       Blue Earth Finance, Inc., a Nevada corporation: This entity has no business

                                                                    19                               operations.

                                                                    20           An organizational chart showing the relationships among Blue Earth and its subsidiaries is

                                                                    21   attached hereto as Exhibit “4”.

                                                                    22   B.      Summary of Prepetition Debt

                                                                    23           1.         Jackson Investment Group LLC

                                                                    24           On September 10, 2015, Blue Earth entered into a Note Purchase Agreement (“JIG NPA”)

                                                                    25   with JIG pursuant to which a 15% senior secured note in the principal amount of $10,600,000 was

                                                                    26   issued with a maturity date of February 29, 2016 (the “September 2015 Secured Note”). The

                                                                    27   proceeds of the September 2015 Secured Note were used, among other things, to refinance that

                                                                    28   certain 12% Senior Convertible Note, in the principal amount of $10,000,000 issued on March 10,

                                                                                                                                25
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                                                                     1   2015 by Blue Earth to JIG pursuant to that certain Note and Warrant Purchase Agreement dated as

                                                                     2   of March 10, 2015, by and among Blue Earth and JIG. The Guarantors (defined below) and Blue

                                                                     3   Earth entered in that certain Omnibus Amendment and Joinder Agreement dated as of September 10,

                                                                     4   2015 pursuant to which, among other things, Blue Earth and the Guarantors agreed that (i) the

                                                                     5   Prepetition Note Security Agreement (defined below) secured all obligations of Blue Earth under the

                                                                     6   JIG NPA and the September 2015 Secured Note and all guaranty obligations of the Guarantors under

                                                                     7   the Prepetition Guaranty Agreement (defined below), and (ii) that the guarantors guaranteed all

                                                                     8   obligations of Blue Earth under the JIG NPA and the September 2015 Secured Note pursuant to the

                                                                     9   Prepetition Guaranty Agreement (defined below). A similar omnibus agreement was entered into in

                                                                    10   connection with each subsequent issuance of Prepetition Secured Notes.

                                                                    11           On December 11, 2015, Blue Earth borrowed $7,154,659 from JIG under the JIG NPA,
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                                                                    12   evidenced by a 9% Senior Secured Note also due on February 29, 2016 (the “December 2015
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                                                                    13   Secured Note”). This loan was made, in part, to repay an October 23, 2015, note in the amount of
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                                                                    14   $5,154,508 issued by Blue Earth to JIG. Interest is payable on the Maturity Date in cash or, at Blue

                                                                    15   Earth’s option, in Blue Earth Common Stock at $0.50 per share.

                                                                    16           Pursuant to the JIG NPA, Blue Earth issued a 9% Senior Secured Note due February 29,

                                                                    17   2016 in favor of JIG on February 11, 2016, in the original principal amount of $250,000 (the “First

                                                                    18   February 2016 Secured Note”). Blue Earth also issued a 9% Senior Secured Note due March 31,

                                                                    19   2016, in favor of JIG on February 29, 2016, in the original principal amount of $100,000 (the

                                                                    20   “Second February Secured 2016 Note”).

                                                                    21           On March 18, 2016, Blue Earth issued a 9% Senior Secured Note due May 18, 2016, in favor

                                                                    22   of JIG in the original principal amount of $150,000 (the “First March Secured 2016 Note”). Three

                                                                    23   days later, Blue Earth issued a 9% Senior Secured Note due May 18, 2016, in favor of JIG in the

                                                                    24   original principal amount of $569,581.55 (the “Second March Secured 2016 Note” and together

                                                                    25   with the September 2015 Secured Note, the December 2015 Secured Note, the First February 2016

                                                                    26   Secured Note, the Second February Secured Note and the First March Secured Note, the

                                                                    27   “Prepetition Secured Notes”).

                                                                    28

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                                                                     1           Blue Earth’s obligations to JIG under the Prepetition Secured Notes were guaranteed and

                                                                     2   secured by subsidiaries Blue Earth Generator, Inc., Blue Earth Finance, Inc., Blue Earth

                                                                     3   Management Services, Inc., Blue Earth Solar, Inc., Blue Earth Power Performance Solutions, Inc.,

                                                                     4   ecoLegacy Gas & Power, LLC, Blue Earth Energy Power Solutions, LLC, BE Tech, Blue Earth

                                                                     5   CHP, Inc., Brooks, E2B Growth, Inc., and EnSite (collectively, the “Guarantors”) pursuant to (a)

                                                                     6   that certain Guaranty, dated as of March 10, 2015, by and among the Guarantors in favor of JIG; and

                                                                     7   (b) that certain Pledge and Security Agreement, dated as of March 10, 2015, by and among Blue

                                                                     8   Earth, the Guarantors, JIG and each other signatory thereto, through which Blue Earth and each of

                                                                     9   the Guarantors granted to JIG security interests (the “JIG Prepetition Liens”) on substantially all of

                                                                    10   Blue Earth’s and each Guarantor’s assets, subject to certain exceptions (the “JIG Prepetition

                                                                    11   Collateral”).
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                                                                    12           The JIG Prepetition Collateral excludes certain assets pledged to TCA (as defined below) and
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                                                                    13   Blue Earth’s prepetition agreements with JIG contain a subordination provision that subordinates the
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                                                                    14   JIG Prepetition Liens to liens pledged to Laird Q. Cagan (the “Cagan Subordination”) which

                                                                    15   subordination is limited to not more than $1,333,147 (less any principal repayments thereof) in

                                                                    16   secured debt in respect of the Cagan Loan (as defined below) in accordance with Section 28(b) of

                                                                    17   that certain Pledge and Security Agreement dated March 10, 2015, among Blue Earth and certain of

                                                                    18   its subsidiaries and JIG.

                                                                    19           As of the Petition Date, the Debtors were indebted to JIG in an amount (including certain

                                                                    20   principal default amounts) of not less than approximately $23,282,326.

                                                                    21           As of the Petition Date, JIG owned approximately 13% of the voting securities of Blue Earth,

                                                                    22   representing 13,995,618 common shares. JIG has rights to acquire additional shares, which remain

                                                                    23   unexercised as of the Petition Date.

                                                                    24           2.         TCA Global Credit Master Fund LP

                                                                    25           Blue Earth and twelve of its direct and indirect wholly-owned subsidiaries entered into a

                                                                    26   Credit Agreement with TCA Global Credit Master Fund LP (“TCA”), dated as of January 31, 2013,

                                                                    27   effective February 22, 2013 and last amended on July 6, 2015 (the “TCA Agreement”). Pursuant to

                                                                    28   the Second Amendment to the TCA Agreement, dated February 24, 2015, TCA loaned Blue Earth

                                                                                                                           27
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                                                                     1   $3,000,000, secured by 100% of Blue Earth’s membership interests in Maili PV 01, LLC, and Blue

                                                                     2   Earth CHP, Inc.’s, membership interests in Sumter, as well as shares of Blue Earth’s Series D

                                                                     3   Convertible Preferred Stock.

                                                                     4           As of the Petition Date, TCA asserted a Claim in the amount of $916,378.91.

                                                                     5           3.         Laird Q. Cagan

                                                                     6           Through a series of promissory notes issued from 2012 through 2013, Blue Earth has

                                                                     7   borrowed funds from Laird Q. Cagan, the Chairman of its Board of Directors. The notes bear

                                                                     8   interest at 12% per annum and, per a Security Agreement, dated December 12, 2012, Blue Earth’s

                                                                     9   obligations under such promissory notes are putatively secured by all rights and proceeds of five

                                                                    10   photovoltaic installations in southern California in connection with a Solar PV Joint Development

                                                                    11   Agreement, dated August 14, 2012, with SunValley Solar, Inc. Mr. Cagan entered into a
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                                                                    12   Subordination of Loans Agreement with TCA, dated January 31, 2013. The Debtors and JIG are
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                                                                    13   investigating the validity, priority and amount of Mr. Cagan’s claims, including, without limitation,
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                                                                    14   whether Mr. Cagan is not the Holder of a Secured Claim against the Debtors because the SunValley

                                                                    15   contractual relationship is with Blue Earth subsidiary Blue Earth Solar, Inc., not either of the

                                                                    16   Debtors.

                                                                    17           Mr. Cagan asserts an indebtedness of $1,720,736.52 as of the Petition Date. Of this amount,

                                                                    18   $1,333,000 constitutes a permitted indebtedness under the JIG NPA as of March 2015 (the “Cagan

                                                                    19   Loan”).

                                                                    20   C.      Incomplete EnSite “Spinoff”

                                                                    21           On June 26, 2015, the Board of Directors of Blue Earth voted to form EnSite to best allocate

                                                                    22   the company’s limited resources and focus on its BE CHP and BE Solar divisions. On August 31,

                                                                    23   2015, Blue Earth transferred to EnSite all of the stock of Blue Earth Energy Power Solutions, LLC,

                                                                    24   and Blue Earth Power Performance Solutions, Inc., and its equity interest in PowerGenix in

                                                                    25   consideration of the 20,250,000 shares of EnSite which it intended to spinoff to its shareholders and

                                                                    26   those derivative security holders entitled to a dividend. Blue Earth announced the record date for the

                                                                    27   spinoff would be December 1, 2015, subject to certain regulatory notifications, approvals and other

                                                                    28   customary closing conditions. Blue Earth voluntarily filed a schedule 14C Information Statement

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                                                                     1   and mailed it to its shareholders of record on December 1, 2015. The spinoff could not be completed

                                                                     2   until such time that EnSite became a reporting company with the SEC. Therefore, the spinoff has

                                                                     3   not been completed.

                                                                     4   D.      Events Leading to Chapter 11 Filing

                                                                     5           On February 1, 2016, Blue Earth failed to make a payment to TCA of $177,697.58 for

                                                                     6   interest and principal. In addition, on February 24, 2016, Blue Earth failed to pay TCA the final

                                                                     7   investment banking fee of $100,000. The next day, TCA declared Blue Earth to be in default of the

                                                                     8   TCA Agreement. TCA advised the company that it had ten days from February 25, 2016, to remedy

                                                                     9   or cure the default. TCA warned that if the company was unable to cure the default, TCA may

                                                                    10   declare the outstanding principal balance of $1,029,842.13 under the note, together with all other

                                                                    11   obligations due under the note and loan documents immediately due and payable, together with all
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                                                                    12   accrued and unpaid interest at a default rate of 17% per annum, and pursue all of its rights and
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                                                                    13   remedies, including the conversion of its Convertible Preferred Stock into common stock at the
                                            ATTORNEYS AT LAW




                                                                    14   average closing price of the Company’s common stock for the 10 Business Days immediately

                                                                    15   preceding a Conversion Notice.

                                                                    16           The company also failed to make the February 1, 2016, interest payment to JIG and cure the

                                                                    17   default within three (3) Business Days. Upon this uncured default, interest began to accrue at 21%

                                                                    18   per annum and JIG had the right to demand payment of a “Mandatory Default Amount” equal to

                                                                    19   115% of the principal amount of the Note (or $12,190,000), together with interest, fees, expenses

                                                                    20   and all other amounts owed under the JIG NPA and all ancillary agreements. An additional

                                                                    21   $250,000 principal amount was borrowed from JIG on February 11, 2016. Commencing five (5)

                                                                    22   days after the occurrence of an Event of Default, the interest rate on this recent note increases from

                                                                    23   9% to 18% per annum and a “Mandatory Default Amount” equal to 118% (or $295,000) of the

                                                                    24   principal amount of the note is to be paid , plus all accrued and unpaid interest thereon. The

                                                                    25   company did not pay two of its notes to JIG that matured on February 29, 2016.

                                                                    26           On March 1, 2016, JIG provided Blue Earth and its guarantor subsidiaries with a Notice of

                                                                    27   Default, thereby putting substantially all of the company’s assets at risk of foreclosure (other than

                                                                    28   those pledged to TCA, and certain other assets). Prior to the Petition Date, Blue Earth was in debt

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                                                                     1   restructuring discussions with JIG and was actively seeking project financing that would be used to

                                                                     2   repay a substantial portion of its indebtedness to JIG. However, the company was unable to access

                                                                     3   the equity markets given the deterioration of its market price, as well as general market conditions.

                                                                     4           The Debtors commenced these Chapter 11 Cases in order to obtain necessary financing and

                                                                     5   restructure Blue Earth’s balance sheet through a debt-for-equity swap with JIG to be implemented

                                                                     6   through the Plan.

                                                                     7   E.      Prepetition Litigation

                                                                     8           Prior to the Petition Date, the Debtors were parties to the following litigation:

                                                                     9            Caption of Matter                  Nature of           Court or Agency               Status
                                                                                    and Case No.                    Proceeding              Location
                                                                    10
                                                                           Powell vs. Cagan                     Verified Shareholder   8th District Court, Clark    Pending
                                                                    11     A-15-723839-C Division VII           Derivative Action      County, NV
                                                                           Cinaci vs. Blue Earth                Class Action –         US District Court,           Pending
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                                                                    12     2:14-CV-08263-DSF-JEM                Security Law           Central District CA
                                                                                                                Violation
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                                                                    13     Davis & Patalano v. Blue Earth,      Breach of Consulting   AAA John H                   Concluded
                                            ATTORNEYS AT LAW




                                                                           Inc.                                 Agreement              L’Estrange, Jr.,
                                                                    14     01-14-000-0952                                              Arbitrator
                                                                           Hawaii Solar & NEP vs. Blue          Non-performance        Dispute Prevention &         Concluded
                                                                    15     Earth                                under Solar EPC        Resolution – State of
                                                                           DPR No 15-0044-A                     contract               Hawaii Keith W.
                                                                    16                                                                 Hunter, Arbitrator
                                                                    17           1.         Blue Earth, Inc. Securities Litigation
                                                                    18           On October 24, 2014, a purported class action lawsuit was filed against Blue Earth, two
                                                                    19   executive officers, and one non-executive officer in the United States District Court for the Central
                                                                    20   District of California (Case No:2:14-cv-08263). On January 21, 2015, the court appointed a Lead
                                                                    21   Plaintiff and Lead Plaintiff’s Counsel. The Court also re-captioned the case In re Blue Earth, Inc.
                                                                    22   Securities Litigation, File No. CV 14-8263 DSF (JEMx).
                                                                    23           On March 13, 2015, the plaintiff filed a First Amended Complaint which alleges claims
                                                                    24   under Sections 10(b) and 20(a) of the Exchange Act, and a purported class of purchasers of the
                                                                    25   company’s stock during the period from October 7, 2013, through October 21, 2014. The
                                                                    26   defendants filed a motion to dismiss the complaint on May 4, 2015. On November 4, 2015, the court
                                                                    27   dismissed all of the claims in the complaint with leave to amend. The plaintiffs filed a Second
                                                                    28   Amended Complaint on November 30, 2015.
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                                                                     1           On January 15, 2016, the defendants moved to dismiss the Second Amended Complaint. As

                                                                     2   a result of the commencement of the Chapter 11 Cases, this matter is stayed as to Blue Earth.

                                                                     3   However, it is not stayed as to the individual defendants and the hearing regarding the motion to

                                                                     4   dismiss is currently scheduled for June 6, 2016.

                                                                     5           2.         Derivative Lawsuit

                                                                     6           On August 31, 2015, a derivative lawsuit was filed in Nevada state court on behalf of a

                                                                     7   purported shareholder of Blue Earth, captioned Powell v. Cagan, et al., No. A-15-723839-C (8th

                                                                     8   Judicial District Court, Clark County, Nevada). The complaint names as defendants Brett Woodard,

                                                                     9   Johnny R. Thomas, John C. Francis, and the entire Blue Earth Board of Directors. It also names the

                                                                    10   company as a nominal defendant. The complaint asserts claims for breach of fiduciary duty, unjust

                                                                    11   enrichment, abuse of control, gross mismanagement, and waste of corporate assets, from October
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                                                                    12   2013 to the date the complaint was filed. The plaintiff alleges that the defendants failed to prevent
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                                                                    13   Blue Earth from making certain purportedly false and misleading statements. The lawsuit was
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                                                                    14   stayed prior to the Petition Date pending the resolution of the motions to dismiss the Blue Earth, Inc.

                                                                    15   Securities Litigation. Thereafter, Blue Earth filed a notice with the court indicating that, as a result

                                                                    16   of the commencement of the Chapter 11 Cases, the plaintiffs lack standing to prosecute the action.

                                                                    17   A status hearing is scheduled for June 16, 2016.

                                                                    18   F.      SEC Staff Review and Investigation

                                                                    19           On January 12, 2016, Blue Earth disclosed in a Form 8-K securities filing that on January 11,

                                                                    20   2016, the Audit Committee of the Board of Directors (“Audit Committee”) of Blue Earth, after

                                                                    21   consultation with HJ & Associates, LLC, Blue Earth’s independent registered public accounting

                                                                    22   firm, determined that the company’s financial statements for the year ended December 31, 2014, and

                                                                    23   the quarters ended March 31, June 30, and September 30, in 2014 and 2015 included in Blue Earth’s

                                                                    24   Annual Reports on Form 10-K and Quarterly Reports on Form 10-Q for such periods, and together

                                                                    25   with all three-, six- and nine- month financial information contained therein (collectively, the “Non-

                                                                    26   Reliance Periods”), can no longer be relied upon. The company further disclosed that, therefore, all

                                                                    27   earnings press releases and similar prior communications issued by Blue Earth as well as other prior

                                                                    28   statements made by or on behalf of the company relating to those periods should not be relied upon.

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                                                                     1   Blue Earth advised that it intended to present annual and quarterly restated financial statements in

                                                                     2   amendments to its Annual Report on Form 10-K for the year ended December 31, 2014, and its

                                                                     3   Quarterly Reports on Form 10-Q for the quarters ended March 31, June 30, and September 30, 2015,

                                                                     4   and, if required for the quarters ended March 31, June 30, and September 30, 2014 (the “Restated

                                                                     5   Filings”), as soon as practicable.

                                                                     6           Blue Earth also disclosed that the Audit Committee’s decision to restate these financial

                                                                     7   statements is in connection with a review by the staff (the “Staff”) of the SEC of its Annual Report

                                                                     8   on Form 10-K for the year ended December 31, 2014, and Form 10-Q for the quarter ended

                                                                     9   September 30, 2015 (the “Staff Review”), and subsequent communications between the Staff and

                                                                    10   the company relating to the Staff Review. As a result of this review, Blue Earth, under the direction

                                                                    11   of its Audit Committee, re-evaluated its historical and then current practices with respect to its
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                                                                    12   treatment of a purchased asset as an intangible asset in accordance with accounting principles
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                                                                    13   generally accepted in the United States of America. In connection with this re-evaluation and upon
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                                                                    14   further review of the accounting literature, the company concluded that the accounting for the

                                                                    15   issuance of shares to Donald R. Kendall, Jr., in connection with the Blue Earth’s acquisition of

                                                                    16   Kenmont Solutions Capital (“KSC”), Mr. Kendall’s company, should follow the guidance in ASC

                                                                    17   Topic 718, Compensation-Stock Compensation. There are no market, performance or service

                                                                    18   conditions that must be met in the employment contract. Further, there are no restrictions on the

                                                                    19   shares issued under the KSC acquisition. Accordingly, the fair value of the shares issued to Mr.

                                                                    20   Kendall should have been expensed in the period the shares were issued. Accordingly, Blue Earth

                                                                    21   disclosed that it will restate its financial statements to classify the acquisition cost of KSC as

                                                                    22   employee compensation costs and record the full expense for the year ended December 31, 2014.

                                                                    23           In late March 2016, Blue Earth learned that the SEC is conducting an investigation of

                                                                    24   corporate and financial matters relating to the company. The company intends to cooperate fully

                                                                    25   with any SEC requests.

                                                                    26   G.      Postpetition Events

                                                                    27           1.         “First Day” Motions

                                                                    28           On March 23, 2016, the Bankruptcy Court heard and granted the following motions:

                                                                                                                             32
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                                                                     1                      a.   Application for Order Approving Designation of G. Robert Powell as

                                                                     2                           Responsible Individual Pursuant to Bankruptcy Local Rule 4002-1 [Docket

                                                                     3                           No 4], in which the Debtors sought to authorize G. Robert Powell, its Chief

                                                                     4                           Executive Officer, as the natural person to be responsible for the duties and

                                                                     5                           obligations of the Debtors during the Chapter 11 Cases;

                                                                     6                      b.   Motion for Order Authorizing Debtor to (A) Maintain Existing Bank Accounts

                                                                     7                           and (B) Continue Use of Cash Management System [Docket No. 5], in which

                                                                     8                           the Debtors requested entry of an order (i) authorizing continued use of their

                                                                     9                           cash management system; (ii) authorizing the Debtors to maintain prepetition

                                                                    10                           bank accounts; and (iii) authorizing the Debtors to continue using their

                                                                    11                           existing business forms and checks; and
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                                                                    12                      c.   Motion of Debtors for Order (1) Establishing Bar Date for Filing Proofs of
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                                                                    13                           Claim and (2) Approving Form and Manner of Notice of Bar Date (the “Bar
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                                                                    14                           Date Motion”) [Docket No. 8], in which the Debtors requested entry of an

                                                                    15                           order establishing May 23, 2016, as the deadline by which creditors that wish

                                                                    16                           to assert claims against the Debtors must File Proofs of Claim and approving

                                                                    17                           the form of notice of such bar date.

                                                                    18           On March 28, 2016, the Bankruptcy Court heard and granted the following motions:

                                                                    19                      d.   Motion for Order Authorizing the Debtor to (i) Pay Pre-Petition Employee

                                                                    20                           Wages, Obligations and Contributions to Employee Benefit Plans; and (ii) for

                                                                    21                           the Debtor and Banks and Other Financial Institutions to Comply with

                                                                    22                           Procedures Relating Thereto [Docket No. 6], in which the Debtors sought an

                                                                    23                           order of the Bankruptcy Court authorizing the Debtors to (i) honor prepetition

                                                                    24                           employee wages, obligations and contributions to benefit plans for their

                                                                    25                           employees, and (ii) to the extent that certain banks and other financial

                                                                    26                           institutions are required to receive, process, honor, and pay checks presented

                                                                    27                           for payment by their employees, to comply with procedures and honor all

                                                                    28                           funds transfer requests made by the Debtors relating thereto;

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                                                                     1                      e.    Motion of the Debtors For Entry of Interim and Final Orders Establishing

                                                                     2                            Notification, Objection and Hearing Procedures for Transfers of Equity

                                                                     3                            Securities (the “NOL Motion”) [Docket No. 7], through which the Debtors

                                                                     4                            requested that the Bankruptcy Court establish certain notice, objection and

                                                                     5                            hearing procedures regarding the transfer of beneficial interests in equity

                                                                     6                            securities of Blue Earth. The purpose of such procedures described in the

                                                                     7                            NOL Motion is to restrict equity trading that could result in an ownership

                                                                     8                            change prior to consummation of the Plan and lead to adverse tax

                                                                     9                            consequences to the Debtors and prevent the Debtors from taking advantage

                                                                    10                            of certain provisions in the Internal Revenue Code; and

                                                                    11                      f.    Application for Order Under 28 U.S.C. § 156(c) Authorizing the Retention of
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                                                                    12                            Kurtzman Carson Consultants LLC As Noticing and Claims Agent for Clerk of
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                                                                    13                            the Bankruptcy Court Nunc Pro Tunc to the Petition Date [Docket No. 9], in
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                                                                    14                            which the Debtors sought the authorization and approval of the retention and

                                                                    15                            appointment of Kurtzman Carson Consultants LLC as claims and noticing

                                                                    16                            agent for the Clerk to, among other things, (i) serve as the Bankruptcy Court’s

                                                                    17                            agent to mail certain notices to the Estates’ creditors and other parties-in-

                                                                    18                            interest, (ii) provide computerized claims and claims objections services, and

                                                                    19                            (iii) provide expertise, consultation, and assistance with claim processing and

                                                                    20                            with other administrative information related to the Debtors’ bankruptcy

                                                                    21                            cases.

                                                                    22           2.         Employment of Professionals

                                                                    23           On April 4, 2016, the Creditors’ Committee filed and, the same day, the Bankruptcy Court

                                                                    24   approved the Official Committee of Unsecured Creditors’ Application to Employ Felderstein

                                                                    25   Fitzgerald Willoughby & Pascuzzi LLP as Bankruptcy Counsel [Docket No. 53], seeking to employ

                                                                    26   the law firm of Felderstein Fitzgerald Willoughby & Pascuzzi LLP as its counsel in these cases.

                                                                    27           On April 22, 2016, the Bankruptcy Court approved the Debtors’ Application to Employ

                                                                    28   Pachulski Stang Ziehl & Jones LLP as Attorneys for the Debtors Nunc Pro Tunc to The Petition

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                                                                     1   Date [Docket No. 57], which authorized the Debtors’ retention of Pachulski Stang Ziehl & Jones

                                                                     2   LLP as their general bankruptcy counsel, effective nunc pro tunc as of the Petition Date.

                                                                     3           On May 4, 2016, the Bankruptcy Court approved the following retention applications:

                                                                     4                      a.   Debtors’ Application to Employ EOS Capital Advisors LLC as Investment

                                                                     5                           Banker Effective as of March 21, 2016, Pursuant to 11 U.S.C. § 327(a) and

                                                                     6                           Fed. R. Bankr. P. 2014 (the “EOS Employment Application”) [Docket No.

                                                                     7                           80]. In the EOS Employment Application, the Debtors requested

                                                                     8                           authorization to employ EOS Capital Advisors LLC as their investment

                                                                     9                           banker for the purpose of preparing independent valuations of facilities

                                                                    10                           operated by Sumter and Brooks; and

                                                                    11                      b.   Debtors’ Application to Employ Ice Glen Associates, LLC as Investment
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                                                                    12                           Banker Effective as of March 21, 2016, Pursuant to 11 U.S.C. § 327(a) and
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                                                                    13                           328(a) and Fed. R. Bankr. P. 2014 [Docket No. 81], in which the Debtors
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                                                                    14                           sought to employ Ice Glen Associates, LLC, as their investment banker to

                                                                    15                           assess the fair market value of Blue Earth’s wholly-owned common stock of

                                                                    16                           EnSite.

                                                                    17           On May 5, 2016, the Bankruptcy Court approved the Debtors’ Application to Employ

                                                                    18   Davidoff, Hutcher & Citron LLP as Special Corporate Counsel, Effective as of March 21, 2016,

                                                                    19   Pursuant to Section 327(e) of the Bankruptcy Code (the “DHC Employment Application”) [Docket

                                                                    20   No. 83] remains pending. Through the DHC Employment Application, the Debtors sought

                                                                    21   authorization to employ the law firm of Davidoff, Hutcher & Citron LLP, as special corporate

                                                                    22   counsel to the Debtors, effective as of the Petition Date. The firm has served essentially as “outside”

                                                                    23   general counsel for the Debtors and certain non-debtor subsidiaries since September 2010 when the

                                                                    24   Debtors’ current operations commenced upon a change in management.

                                                                    25           On April 21, 2016, the Creditors’ Committee filed the Official Committee of Unsecured

                                                                    26   Creditors’ Motion to (1) Approve Retention of Bartko, Zankel, Bunzell & Miller and Romero Park

                                                                    27   P.S. as Co-Special Investigation/Litigation Counsel on a Fixed Fee of $200,000 to Conduct Claims

                                                                    28   Analysis; (2) Pre-Approve Expenditure of up to $200,000 for Retention of Experts and Other Related

                                                                                                                            35
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                                                                     1   Costs; and (3) Approve Terms of the Bentham IMF Investigation Funding, Certain Break-Up Fees

                                                                     2   and a Right to Fund Future Litigation [Docket No. 85] (the “Bartko/Romero Employment and

                                                                     3   Funding Motion”) in which it sought authorization to employ two additional law firms – Bartko,

                                                                     4   Zankel, Bunzell & Miller (“Bartko”) and Romero Park P.S. (“Romero Park”) - on a $200,000

                                                                     5   fixed fee basis to investigate claims against JIG and third parties. The Creditors’ Committee also

                                                                     6   asked the Bankruptcy Court to pre-approve the expenditure of $200,000 for experts and other costs

                                                                     7   of the investigation and to approve the terms of an Investigation Funding Agreement between the

                                                                     8   Creditors’ Committee and Bentham Capital LLC dba Bentham IMF (“Bentham”) that would allow

                                                                     9   Bentham to fund the investigation in exchange for a variety of relief, including the granting of an

                                                                    10   exclusive right of first refusal to fund future litigation and a percentage of proceeds from future

                                                                    11   claims pursued as a result of the investigation. JIG and the Debtors opposed the Bartko/Romero
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                                                                    12   Employment and Funding Motion [Docket Nos. 103, 106].
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                                                                    13           Pursuant to a hearing regarding the Bartko/Romero Employment and Funding Motion
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                                                                    14   conducted on April 26, 2016, the Creditors’ Committee (a) on April 29, 2016, separately filed an

                                                                    15   application to employ Bartko on an hourly billing and costs reimbursement basis [Docket No. 117];

                                                                    16   and (b) on May 3, 2016, filed an amendment to the Bartko/Romero Employment and Funding

                                                                    17   Motion [Docket No. 120]. The Court scheduled a continued hearing regarding the Bartko/Romero

                                                                    18   Employment and Funding Motion on May 23, 2016.

                                                                    19           3.         DIP Financing

                                                                    20           On April 29, 2016, the Bankruptcy Court entered a final order (the “Final DIP Financing

                                                                    21   Order”) [Docket No. 116] granting the Debtors’ Motion for Interim and Final Orders (1)

                                                                    22   Authorizing Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364(c)(1),

                                                                    23   364(c)(2), 364(c)(3) and 364(d)(1); (2) Authorizing the Use of Cash Collateral; (3) Granting

                                                                    24   Security Interests and Superpriority Claims; (4) Providing Adequate Protection; (5) Modifying the

                                                                    25   Automatic Stay; and (6) Granting Related Relief (the “DIP Financing Motion”) [Docket No 11].5

                                                                    26   Among other relief, the Final DIP Financing Order authorized the Debtors to borrow up to an

                                                                    27
                                                                         5
                                                                    28    The Bankruptcy Court previously entered an Interim Order [Docket No. 28] regarding the DIP Financing Motion on
                                                                         March 24, 2016.
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                                                                     1   aggregate principal amount of $3 million and utilize the financing and cash collateral to satisfy the

                                                                     2   fees and costs of professionals, to make disbursements in the ordinary course of the Debtors’

                                                                     3   business in accordance with a budget and to pay certain fees and expenses associated with the

                                                                     4   financing.

                                                                     5           The Final DIP Financing Order also provides generally that, until all DIP Obligations and

                                                                     6   Prepetition Secured Obligations (as such and all other capitalized terms used in this section not

                                                                     7   otherwise defined herein are defined in the Final DIP Financing Order) are paid in full, the lender’s

                                                                     8   commitments under the DIP facility have terminated and all challenges to the lender’s prepetition

                                                                     9   loans and obligations have been waived, denied or barred, the lender will retain its prepetition liens

                                                                    10   and security interests. The DIP Obligations are secured by valid, enforceable, non-avoidable and

                                                                    11   fully perfected senior liens (except upon Avoidance and Other Actions), subordinate only to the
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                                                                    12   Carve-Out, Permitted Liens and Existing Liens.          The Final DIP Financing Order permits the
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                                                                    13   Creditors’ Committee or any other party in interest (except the Debtors) to challenge the Prepetition
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                                                                    14   Secured Obligations, Prepetition Liens and related Claims no later than the earlier of (x) the date of

                                                                    15   entry of an order confirming the Plan or (y) the date that is 140 days after the Petition Date.

                                                                    16           4.         Motion for Relief from Stay Re: D&O Insurance Policies

                                                                    17           On April 8, 2016, the Debtors filed the Debtors’ Motion for Entry of an Order Granting

                                                                    18   Limited Relief from Stay to Allow for Payment under D&O Insurance Policies [Docket No. 58] (the

                                                                    19   “D&O Motion”), asking the Bankruptcy Court to lift the automatic stay under section 362 of the

                                                                    20   Bankruptcy Code to the extent necessary to allow insurers Liberty Insurance Underwriters, Inc.,

                                                                    21   American International Group, Inc., and XL Specialty Insurance Company (collectively, the

                                                                    22   “Insurers”) to perform under certain of the Debtors’ directors’ and officers’ liability policies

                                                                    23   (“D&O Policies”). The Debtors sought an order of the Bankruptcy Court lifting the stay in order to

                                                                    24   allow the Insurers to advance defense costs to certain of the Debtors’ current and former directors

                                                                    25   and officers who are parties to on-going litigation. On April 28, 2016, the Bankruptcy Court entered

                                                                    26   its order granting the D&O Motion [Docket No. 114].

                                                                    27

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                                                                                                                      78
                                                                     1   H.       The Claims Bar Date

                                                                     2            Pursuant to the Bar Date Motion, the Bankruptcy Court set May 23, 2016 as the deadline for

                                                                     3   creditors to File Proofs of Claim against the Debtors’ Estates. The deadline for governmental units

                                                                     4   to File Proofs of Claim against the Debtors’ Estates is September 17, 2016.

                                                                     5                                                              IV.

                                                                     6                       ADDITIONAL INFORMATION RELEVANT TO THE PLAN

                                                                     7   A.       The Debtors’ Assets and Liabilities6

                                                                     8            On April 22, 2016, the Debtors filed amended Schedules [Blue Earth Docket No. 99; BE

                                                                     9   Tech Docket No. 11], in which they allege the aggregate value of Blue Earth’s assets to be

                                                                    10   $51,568,171.37 (of which $9,367,442.007 consists of the gross aggregate value of Blue Earth’s

                                                                    11   interests in its subsidiaries and $42,000,000.00, representing the book value as of December 31,
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                                                                    12   2015, of the Debtors’ net operating losses), and amount of aggregate liabilities to be $27,071,836.27
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                                                                    13   ($23,996,434.91 of which is asserted secured debt and $3,044,457.29 of which constitutes general
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                                                                    14   unsecured claims); and the aggregate value of BE Tech’s assets to be $665.00 and aggregate

                                                                    15   liabilities of $41,867,242.49 (including $21,747,056 in secured debt owed to JIG for which Blue

                                                                    16   Earth is co-liable, $19,901,316.56 in unsecured liabilities owed to Blue Earth on account of payroll

                                                                    17   funding and $86,123.31 in non-insider general unsecured claims).

                                                                    18            The following chart shows the respective values of the Blue Earth subsidiaries:8

                                                                    19

                                                                    20   Entity                                                         Value

                                                                    21   Blue Earth Capital, Inc.                                       0
                                                                    22   Blue Earth CHP, Inc.                                           $2,750,000.009
                                                                    23   Blue Earth Energy Management Services, Inc.                    0
                                                                    24
                                                                         6
                                                                           Information regarding the valuation of the Debtors’ subsidiaries is set forth in the Periodic Report Regarding Value,
                                                                    25   Operations and Profitability of Entities in which the Estate of Blue Earth, Inc. Holds a Substantial or Controlling
                                                                         Interest [Docket No. 79], filed by the Debtors on April 18, 2016 (the “Rule 2015.3 Report”).
                                                                         7
                                                                    26     Such valuation does not take into account the Debtors’ subsidiaries’ joint liability for JIG’s secured debt and have other
                                                                         asserted secured debt at the subsidiary level owed to TCA.
                                                                         8
                                                                    27     Unless stated otherwise, all values given are NOT net of secured indebtedness for which such entity may be co-liable.
                                                                         9
                                                                           The Debtors state in their Rule 2015.3 Report that the value of Blue Earth CHP, Inc. “will be approximately equal to
                                                                    28   the sum of the value of its subsidiaries.” Accordingly, the value given is the sum of the values of Brooks and Sumter.
                                                                         The entity’s other subsidiaries do not have value.
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                                                                     1
                                                                         Blue Earth Finance, Inc.                                     0
                                                                     2
                                                                         Blue Earth Generator, Inc.                                   $280,400.0010
                                                                     3
                                                                         Blue Earth Solar, Inc.                                       0
                                                                     4
                                                                         Brooks                                                       $2,000,000.0011
                                                                     5
                                                                         E2B Growth, Inc.                                             0
                                                                     6
                                                                         EnSite                                                       $4,860,000.0012
                                                                     7
                                                                         Live Oak Heat & Power, LLC                                   0
                                                                     8
                                                                         Maili PV-01 LLC                                              0
                                                                     9
                                                                         Maili PV-03 Limited                                          0
                                                                    10
                                                                         Maili PV-05 Limited                                          0
                                                                    11
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                                                                         Maili PV-06 Limited                                          0
                                                                    12
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                                                                         Makaha PV-02 Limited                                         0
                                                                    13
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                                                                         Marshalltown Heat & Power, LLC                               0
                                                                    14
                                                                         Mt. Pleasant Heat & Power, LLC                               0
                                                                    15
                                                                         Plainwell Heat & Power, LLC                                  0
                                                                    16
                                                                         Souderton Heat & Power LLC                                   0
                                                                    17
                                                                         Sumter                                                       $750,000.0013
                                                                    18
                                                                         Tolleson Heat & Power, LLC                                   0
                                                                    19

                                                                    20   Worthington Heat & Power, LLC                                0

                                                                    21   B.       EnSite Post-Effective Date Equity Raise

                                                                    22            JIG and EnSite have entered into a Term Sheet, an Intercreditor Agreement and certain other

                                                                    23   agreements which establish the terms upon which EnSite can pursue additional capital in light of

                                                                    24

                                                                    25
                                                                         10
                                                                            The value does not take into account the costs of liquidating the company’s assets, which are fully encumbered by
                                                                    26   liens.
                                                                         11
                                                                            This dissolution value of Brooks represents a midpoint value in the range of $1,600,000 on the low end and
                                                                    27   $2,400,000 on the high end, net of a mechanic’s lien.
                                                                         12
                                                                            The amount represents the market-based value of the 20,250,000 shares of common stock held by Blue Earth in
                                                                    28   EnSite, representing a 72% ownership interest.
                                                                         13
                                                                            This amount represents a discounted cash flow value.
                                                                                                                                    39
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                                                                     1   JIG’s claims against, and liens on the assets of, EnSite. The following is a summary of these

                                                                     2   agreements, which is subject to the actual terms of the agreements between those parties.

                                                                     3           Subject to the Effective Date, JIG has agreed that EnSite may raise equity by selling up to

                                                                     4   20,000,000 newly-issued shares of its Series B Preferred Stock (the “EnSite Series B Stock”) for at

                                                                     5   least $1.00 per share. JIG has also agreed that new investors may immediately loan up to

                                                                     6   $2,100,000.00 to EnSite for required working capital (the “EnSite Bridge Loan”) on a first lien

                                                                     7   priming basis (the “EnSite Priming Lien”), with the lien securing the EnSite Bridge Loan being

                                                                     8   subordinate to JIG’s lien on EnSite’s equity in, and any notes or payables from PowerGenix only.

                                                                     9   Upon the Effective Date, the EnSite Bridge Loan will be converted into EnSite Series B Stock at

                                                                    10   $1.00 per share and the EnSite Priming Lien shall terminate.

                                                                    11           Upon the funding of at least $1,000,000.00 of the EnSite Bridge Loan, JIG will hold a claim
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                                                                    12   against EnSite in the amount of $2,000,000.00 (the “JIG EnSite Claim”) secured only by a first
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                                                                    13   priority lien on EnSite’s equity in PowerGenix and a second priority lien on all other assets of EnSite
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                                                                    14   (the “JIG EnSite Liens”). The JIG EnSite Claim will be waived and released and the JIG EnSite

                                                                    15   Liens will terminate immediately upon (i) the Effective Date and either (ii) at least $2,000,000.00 of

                                                                    16   EnSite shares are purchased from Blue Earth or (iii) EnSite sells $10,000,000.00 or more of EnSite

                                                                    17   Series B Stock. If neither (ii) nor (iii) occurs within twelve months of the Effective Date, then the

                                                                    18   JIG EnSite Liens will not terminate and the JIG EnSite Claim will be due and payable on the date

                                                                    19   that is twelve months from the Effective Date.

                                                                    20           The lenders of the EnSite Bridge Loan have agreed to forbear from exercising any rights

                                                                    21   upon a default and shall only be permitted to enforce the EnSite Bridge Loan and EnSite Priming

                                                                    22   Lien and foreclose on the assets of EnSite (excluding the stock in PowerGenix) upon the first to

                                                                    23   occur of (i) a sale of substantially all of the assets of Blue Earth that does not provide for the sale or

                                                                    24   assignment of at least a controlling interest in the equity of Blue Earth to JIG, (ii) confirmation of a

                                                                    25   plan that does not provide for the sale or assignment of at least a controlling interest in the equity of

                                                                    26   Blue Earth to JIG, (iii) the conversion of Blue Earth’s chapter 11 case to chapter 7, and (iv) a change

                                                                    27   of control or management of EnSite without the consent of the EnSite Bridge Loan lenders.

                                                                    28

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                                                                     1            JIG has agreed to cause Blue Earth, after the Effective Date, to grant purchasers of EnSite

                                                                     2   Series B Stock an option to purchase up to 20,250,000 shares of EnSite from Blue Earth at prices

                                                                     3   that start at $0.25 per share if purchased within 30 days of the Effective Date and that increase in 30

                                                                     4   day increments to a maximum of $1.00 per share for purchases from 210 to 240 days after the

                                                                     5   Effective Date. If EnSite investors have not purchased 100% of the equity of EnSite owned by Blue

                                                                     6   Earth on or before the date that is 240 days following the Effective Date, then the remaining shares

                                                                     7   of EnSite owned by Blue Earth shall be exchanged for an equal number of shares of EnSite Series B

                                                                     8   Stock.

                                                                     9            JIG and EnSite have agreed that JIG shall be entitled to elect a majority of the EnSite Board

                                                                    10   members until such time as Blue Earth owns less than 50% of the outstanding shares of EnSite, and

                                                                    11   that JIG and the EnSite Series B Stock holders shall each have proportionate representation on the
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                                                                    12   Board so long as they own more than 10% of the outstanding shares of EnSite.
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                                                                    13   C.       SEC Filings
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                                                                    14            As a public company, Blue Earth had been required to file appropriate reports with the SEC,

                                                                    15   including quarterly statements of its operational and financial status and reports of significant events.

                                                                    16   All of Blue Earth’s public securities filings are available at

                                                                    17   http://www.sec.gov/edgar/searchedgar/companysearch.html. Blue Earth will continue to file Form

                                                                    18   8-K reports during the pendency of the Chapter 11 Cases.

                                                                    19            Effective at the opening of business on March 28, 2016, Blue Earth’s common stock was

                                                                    20   suspended and was thereby delisted from The Nasdaq Stock Market. Under the Plan, Blue Earth

                                                                    21   will become a private company after the Effective Date.

                                                                    22                                                      V.

                                                                    23             CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES

                                                                    24   A.       Introduction

                                                                    25            The following discussion summarizes certain U.S. federal income tax consequences of the

                                                                    26   implementation of the Plan to the Debtors and to certain Holders of Claims. This discussion does not

                                                                    27   address the U.S. federal income tax consequences to Holders of Claims who are Unimpaired,

                                                                    28   otherwise entitled to payment in full in Cash under the Plan, or deemed to reject the Plan.

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                                                                     1           The discussion of U.S. federal income tax consequences below is based on the Internal

                                                                     2   Revenue Code of 1986, as amended (the “Tax Code”), Treasury regulations promulgated thereunder,

                                                                     3   judicial authorities, published positions of the IRS, and other applicable authorities, all as in effect

                                                                     4   on the date of this Disclosure Statement and all of which are subject to change or differing

                                                                     5   interpretations (possibly with retroactive effect). No ruling has been or will be sought from the IRS,

                                                                     6   and no legal opinion of counsel will be rendered, with respect to the matters discussed below. There

                                                                     7   can be no assurance that the IRS will not take a contrary (or less favorable) position regarding the

                                                                     8   federal income tax consequences resulting from the consummation of the Plan or that any contrary

                                                                     9   or different position would not be sustained by a court.

                                                                    10           This summary does not address foreign, state, or local tax consequences of the contemplated

                                                                    11   transactions, nor does it purport to address the U.S. federal income tax consequences of the
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                                                                    12   transactions to certain classes of taxpayers subject to special rules (including, without limitation,
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                                                                    13   Holders that are not “United States persons” as defined in the Tax Code, small business investment
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                                                                    14   companies, regulated investment companies, real estate investment trusts, banks and certain other

                                                                    15   financial institutions, insurance companies, tax-exempt organizations, retirement plans, individual

                                                                    16   retirement and other tax-deferred accounts, Holders that are, or hold Claims through, partnerships or

                                                                    17   other pass-through entities for U.S. federal income tax purposes, persons whose functional currency

                                                                    18   is not the U.S. dollar, dealers in securities or foreign currency, traders that mark-to-market their

                                                                    19   securities, persons subject to the alternative minimum tax or the “Medicare” tax on net investment

                                                                    20   income, persons that acquired Claims at a “market discount,” and persons holding Claims that are

                                                                    21   part of a straddle, hedging, constructive sale, or conversion transaction). In addition, this discussion

                                                                    22   does not address U.S. federal taxes other than income taxes.

                                                                    23           This discussion assumes that the Claims are held as “capital assets” (generally, property held

                                                                    24   for investment) within the meaning of section 1221 of the Tax Code and that the various debt and

                                                                    25   other arrangements to which the Debtors are a party will be respected for U.S. federal income tax

                                                                    26   purposes in accordance with their form.

                                                                    27

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                                                                                                                     78
                                                                     1           The following summary of certain U.S. federal income tax consequences is for informational

                                                                     2   purposes only and is not a substitute for careful tax planning and advice based upon a Holder’s

                                                                     3   individual circumstances.

                                                                     4   B.      Federal Income Tax Consequences to the Debtor

                                                                     5           1.         COD Income and Attribute Reduction

                                                                     6           As of December 31, 2015, the Debtor Blue Earth had a consolidated federal income tax net

                                                                     7   operating loss (“NOL”) carryforward of approximately $42 million, in addition to other tax

                                                                     8   attributes. The Debtor expects that it will incur an additional NOL for the tax year ending December

                                                                     9   31, 2016.

                                                                    10           In general, cancellation of debt income (“COD”) realized by a debtor on the discharge of

                                                                    11   debts in the context of a bankruptcy proceeding will not result in taxable income to the debtor,
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                                                                    12   although it will cause the reduction in certain of the debtor’s tax attributes (such as NOLs, capital
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                                                                    13   loss carryforwards, tax credits, and tax basis in assets). The amount of COD realized equals the
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                                                                    14   excess of the adjusted issue price of indebtedness discharged over the sum of the amount of cash, the

                                                                    15   issue price of any debt instrument and the fair market value of any other property given in exchange

                                                                    16   therefor, subject to certain statutory or judicial exceptions that can apply to limit the amount of COD

                                                                    17   (such as where the payment of the cancelled debt would have given rise to a tax deduction). If

                                                                    18   advantageous, the borrower can elect to reduce the basis of depreciable property prior to any

                                                                    19   reduction in its NOL carryforwards or other tax attributes. Where a debtor (such as the Debtor) joins

                                                                    20   in the filing of a consolidated U.S. federal income tax return, applicable Treasury regulations

                                                                    21   require, in certain circumstances, that the tax attributes of the consolidated subsidiaries of the debtor

                                                                    22   and other members of the group also be reduced.

                                                                    23           The Debtor expects to realize an amount of COD in connection with the implementation of

                                                                    24   the Plan as a result of the satisfaction of certain Claims that qualify as indebtedness for federal

                                                                    25   income tax purposes at a discount or for no consideration. As a result, the Debtor expects that some

                                                                    26   of its tax attributes will be reduced following the implementation of the Plan.

                                                                    27

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                                                                     1           Any reduction in tax attributes under the COD rules does not occur until after such attributes

                                                                     2   have been applied to determine the tax in the year of discharge or, in the case of asset basis

                                                                     3   reduction, the first day of the taxable year following the tax year in which the COD is realized.

                                                                     4           2.         Treatment of Any Remaining NOLs; Section 382

                                                                     5           To the extent the Debtor Blue Earth has any NOLs remaining after implementation of the

                                                                     6   Plan, the Debtor’s ability to utilize those NOLs may be limited under Section 382 of the Tax Code.

                                                                     7   Section 382 contains certain rules limiting the amount of NOLs a corporate taxpayer can utilize in

                                                                     8   each taxable year following an “ownership change.” In general, an “ownership change” occurs

                                                                     9   whenever the percentage of the stock of a corporation owned, directly or indirectly, by “5-percent

                                                                    10   stockholders” (within the meaning of Section 382) increases by more than 50 percentage points over

                                                                    11   the lowest percentage of the stock of such corporation owned, directly or indirectly, by such 5-
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                                                                    12   percent stockholders at any time over the preceding three-year period. Certain special rules under
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                                                                    13   Section 382 apply to corporations that experience an ownership change in connection with a
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                                                                    14   bankruptcy proceeding and allow for conversion of qualifying debt to equity without causing an

                                                                    15   ownership change.

                                                                    16           The Debtor Blue Earth believes it is possible that the consummation of the Plan will not

                                                                    17   result in an ownership change under Section 382 because of the substantial overlap in ultimate

                                                                    18   beneficial ownership among the Holders of Claims that will receive Reorganized Blue Earth Equity

                                                                    19   Interests pursuant to the Plan, on the one hand, and the Holders of Blue Earth Equity Interests, on the

                                                                    20   other hand and because new equity interests are being received in exchange for qualifying debt and

                                                                    21   the Debtor Blue Earth is in a chapter 11 case. The Debtor Blue Earth is continuing to evaluate

                                                                    22   whether the Plan would result in an ownership change, and, if so, the potential impact of Section 382

                                                                    23   (including certain relief provisions of Section 382 that may apply to an ownership change resulting

                                                                    24   from a bankruptcy restructuring) on its ability to utilize any NOLs that may remain following the

                                                                    25   implementation of the Plan and the application of the attribute reduction rules discussed above.

                                                                    26   Nevertheless, the Plan Proponents believe that the Plan will not result in an ownership change that

                                                                    27   would impact the ability to use the NOLs, and the issuance of Reorganized Blue Earth Equity

                                                                    28   Interests to JIG shall be in accordance with Section 382(l)(5) of the Tax Code.

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                                                                     1   C.      Federal Income Tax Consequences to Holders of Claims

                                                                     2           1.         General

                                                                     3           Subject to the discussion in the following paragraphs, (i) a Holder of an Allowed Claim

                                                                     4   generally will recognize taxable gain or loss for U.S. federal income tax purposes in an amount equal

                                                                     5   to the difference, if any, between the “amount realized” in respect of such Claim under the Plan and

                                                                     6   its tax basis in such Claim, (ii) the Holder’s tax basis in any property received generally should equal

                                                                     7   the fair market value of such property as of the Effective Date, and (iii) the Holder’s holding period

                                                                     8   for the property should begin on the day following the Effective Date. In general, a Holder’s amount

                                                                     9   realized will equal the amount of cash plus the fair market value of any property received (or

                                                                    10   deemed received in the case of Holders that are beneficiaries of the Litigation Trust) in respect of

                                                                    11   such Claim (or, if the property received in respect of a Claim is a debt instrument for federal income
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                                                                    12   tax purposes, the “issue price” of such debt instrument as determined under applicable Treasury
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                                                                    13   regulations).
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                                                                    14           2.         Possible Treatment as Tax-Free Recapitalization

                                                                    15           If a Holder of a Claim that is classified as a “security” of the Debtors for U.S. federal income

                                                                    16   tax purposes receives from the Debtors in respect of such Claim property that constitutes stock of or

                                                                    17   a “security” issued by the Debtors, then the exchange of such Claim for such property may qualify as

                                                                    18   a “recapitalization” under Section 368 of the Tax Code. In that case, a Holder generally (i) should

                                                                    19   not recognize any gain or loss on its receipt of such property, (ii) should have a tax basis in the

                                                                    20   property received equal to its tax basis in such Claim and (iii) should have a holding period for such

                                                                    21   property that includes its holding period for such Claim. However, a Holder may be required to

                                                                    22   recognize gain if, in addition to receiving property that is a “security,” the Holder receives cash or

                                                                    23   other property that is not a “security” in respect of such Claim.

                                                                    24           The term “security” is not defined in the Tax Code or in the Treasury regulations issued

                                                                    25   thereunder and has not been clearly defined by judicial decisions. As applied to debt obligations, the

                                                                    26   meaning of the term “security” is unclear. The determination of whether a particular debt obligation

                                                                    27   constitutes a “security” depends on an overall evaluation of the nature of the debt obligation,

                                                                    28   including whether the holder of such debt obligation is subject to a material level of entrepreneurial

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                                                                     1   risk and whether the debt obligation is intended to give the holder a continuing proprietary interest in

                                                                     2   the issuer. One of the most significant factors considered in determining whether a particular debt

                                                                     3   obligation is a security is its original term. In general, debt obligations issued with a weighted

                                                                     4   average maturity at issuance of less than five years do not constitute securities, whereas debt

                                                                     5   obligations with a weighted average maturity at issuance of ten years or more constitute securities.

                                                                     6   Holders are urged to consult their own tax advisors regarding the possibility that the receipt of

                                                                     7   property in respect of a Claim pursuant to the Plan may qualify as a recapitalization.

                                                                     8           3.         Character of Gain or Loss; Loss Limitations

                                                                     9           The character of any gain or loss recognized by a Holder as capital or ordinary and, in the

                                                                    10   case of capital gain or loss, as long-term or short-term, will be determined by a number of factors,

                                                                    11   including, but not limited to, the tax status of the Holder, the nature of the applicable Claim in the
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                                                                    12   Holder’s hands, the purpose and circumstances of its acquisition of the Claim, the Holder’s holding
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                                                                    13   period of the Claim, the extent to which the Holder previously claimed a bad debt deduction for all
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                                                                    14   or a portion of the Claim, and the extent, if any, to which the Holder acquired the Claim at a market

                                                                    15   discount. The deductibility of capital losses is subject to certain limitations. In addition, other

                                                                    16   special rules could apply that might preclude a Holder from claiming a current deductible loss for tax

                                                                    17   purposes that would otherwise be allowed upon consummation of the Plan. Holders are urged to

                                                                    18   consult their own tax advisors regarding the characterization of any gain or loss recognized, and the

                                                                    19   possible application of any rules limiting the deductibility of any loss recognized, in connection with

                                                                    20   the Plan.

                                                                    21           4.         Amounts Received in Respect of Accrued But Unpaid Interest

                                                                    22           Pursuant to the Plan, amounts received in respect of Allowed Claims will be allocated for tax

                                                                    23   purposes first to the principal amount of such Claims, with any excess allocated to any unpaid

                                                                    24   accrued interest. However there is no assurance that the IRS will respect such allocation for federal

                                                                    25   income tax purposes. In general, to the extent that an amount received (whether stock, cash or other

                                                                    26   property) by a Holder of a Claim is received in satisfaction of interest that accrued during its holding

                                                                    27   period, such amount will be taxable to the Holder as interest income if not previously included in the

                                                                    28   Holder’s gross income. Conversely, a Holder generally recognizes a deductible loss to the extent

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                                                                     1   that it does not receive payment of interest that has previously been included in its income. Holders

                                                                     2   of Claims are urged to consult with their tax advisors regarding the allocation of consideration and

                                                                     3   deductibility of unpaid interest (including the characterization of any deductible loss in respect of

                                                                     4   any unpaid interest as a capital or ordinary loss).

                                                                     5           5.         Treatment of the Litigation Trust

                                                                     6           The Litigation Trust will be established for the primary purpose of liquidating its assets, in

                                                                     7   accordance with Treas. Reg. § 301.7701-4(d), with no objective to continue or engage in the conduct

                                                                     8   of a trade or business, except to the extent reasonably necessary to, and consistent with, the

                                                                     9   liquidating purpose of the Litigation Trust.

                                                                    10           The Litigation Trust is intended to qualify as a “grantor trust” for federal income tax

                                                                    11   purposes with the Litigation Trust Beneficiaries treated as grantors and owners of the Litigation
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                                                                    12   Trust. For all federal income tax purposes, all parties (including the Debtors, the Litigation Trustee,
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                                                                    13   and the Litigation Trust Beneficiaries) are required to treat the transfer of the Litigation Trust Assets
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                                                                    14   by the Debtors to the Litigation Trust (as set forth in the Litigation Trust Agreement) as a transfer of

                                                                    15   such assets by the Debtors to the Litigation Trust Beneficiaries entitled to distributions from the

                                                                    16   Litigation Trust Assets, followed by a transfer by such beneficiaries to the Litigation Trust. Thus,

                                                                    17   the Litigation Trust Beneficiaries shall be treated as the grantors and owners of a grantor trust for

                                                                    18   federal income tax purposes.

                                                                    19           The Litigation Trustee will file tax returns with the IRS for the Litigation Trust as a grantor

                                                                    20   trust in accordance with Treasury Regulation Section 1.671-4(a). The Litigation Trustee will also

                                                                    21   send to each beneficiary of the Litigation Trust a separate statement setting forth the beneficiary’s

                                                                    22   allocable share of items of income, gain, loss, deduction or credit and will instruct the beneficiary to

                                                                    23   report such items on such beneficiary’s federal income tax return.

                                                                    24           The Litigation Trustee may invest the Litigation Trust Assets transferred to the Litigation

                                                                    25   Trust, the proceeds thereof, or any income earned by the Litigation Trust in accordance with the

                                                                    26   Litigation Trust Agreement. However, the scope of any such investments will be limited to include

                                                                    27   only those investments that a Litigation Trust, within the meaning of Treas. Reg. § 301.7701-4(d),

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                                                                     1   may be permitted to hold, pursuant to the Treasury regulations, or any modification in the IRS

                                                                     2   guidelines (whether set forth in IRS rulings, other IRS pronouncements or otherwise).

                                                                     3           The Litigation Trustee will require any Litigation Trust Beneficiary or other party receiving a

                                                                     4   distribution to furnish to the Litigation Trustee in writing such beneficiary’s social security number

                                                                     5   or other taxpayer identification number (“TIN”) as assigned by the IRS and the Litigation Trustee

                                                                     6   may condition any distribution to any Litigation Trust Beneficiary or other party receiving a

                                                                     7   distribution upon receipt of such TIN.

                                                                     8           6.         Information Reporting and Backup Withholding

                                                                     9           All amounts paid to Holders of Allowed Claims under the Plan are subject to any applicable

                                                                    10   withholding tax requirements. Under certain circumstances, interest, dividends, and other reportable

                                                                    11   payments, may be subject to “backup withholding,” currently at a rate of 28%. Backup withholding
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                                                                    12   generally applies if the holder (a) fails to furnish its TIN, (b) furnishes an incorrect TIN, (c) fails
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                                                                    13   properly to report interest or dividends, or (d) under certain circumstances, fails to provide a
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                                                                    14   certified statement, signed under penalty of perjury, that the TIN provided is its correct number and

                                                                    15   that it is not subject to backup withholding. Backup withholding is not an additional tax but merely

                                                                    16   an advance payment, which may be refunded to the extent it results in an overpayment of tax.

                                                                    17   Certain persons are exempt from backup withholding, including, in certain circumstances,

                                                                    18   corporations and financial institutions.

                                                                    19           THE FOREGOING DISCUSSION OF FEDERAL INCOME TAX CONSIDERATIONS IS

                                                                    20   FOR GENERAL INFORMATION PURPOSES ONLY AND IS NOT TAX ADVICE. EACH

                                                                    21   HOLDER SHOULD CONSULT ITS OWN TAX ADVISOR REGARDING THE FEDERAL,

                                                                    22   STATE, LOCAL AND FOREIGN TAX CONSEQUENCES OF THE PLAN DESCRIBED

                                                                    23   HEREIN.

                                                                    24                                                      VI.

                                                                    25                                        LIQUIDATION ANALYSIS

                                                                    26           Pursuant to section 1129(a)(7) of the Bankruptcy Code, unless there is acceptance of a plan

                                                                    27   by an impaired class, the debtor must demonstrate, and the bankruptcy court must determine, with

                                                                    28   respect to such class, each holder of a claim or interest will receive property of a value, as of the

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                                                                     1   effective date of the plan that is not less than the amount that such holder would receive if the debtor

                                                                     2   were liquidated under chapter 7 of the Bankruptcy Code on the effective date of such plan. This

                                                                     3   requirement is commonly referred to as the “Best Interests Test.” For the reasons set forth below,

                                                                     4   the Plan Proponents submit that the Plan easily satisfies the “Best Interests Test” and therefore

                                                                     5   should be approved.

                                                                     6           The Plan Proponents estimate that in these Chapter 11 Cases, General Unsecured Creditors

                                                                     7   will receive either (a) a guaranteed dividend of 5% on account of Allowed Claims, with the

                                                                     8   opportunity to recover up to 100% plus interest, subject to distributions from the Litigation Trust

                                                                     9   based on net proceeds from Trust Causes of Action; or (b) a guaranteed distribution equal to 30% of

                                                                    10   their Allowed Claim. Alternatively, based on the Liquidation Analysis attached hereto as Exhibit

                                                                    11   “3”, the Plan Proponents believe that if the Debtors were liquidated under chapter 7, Holders of
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                                                                    12   General Unsecured Claims would receive no distributions, except to the extent there are material
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                                                                    13   recoveries from litigation.
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                                                                    14           The Plan Proponents believe there are a number of reasons why recoveries to unsecured

                                                                    15   creditors would be reduced in a chapter 7 liquidation. First, since the Debtors’ assets are fully

                                                                    16   encumbered by the liens of the Prepetition Lender and the DIP Lender, there will be no assets from

                                                                    17   which to generate a dividend for unsecured creditors, except potential litigation claims. Second, the

                                                                    18   expenses of a chapter 7 trustee, and the fees and expenses of the trustee’s legal counsel and

                                                                    19   accountants would add additional administrative expenses that would be paid ahead of General

                                                                    20   Unsecured Creditors. The learning curve for the trustee and his or her professionals would simply

                                                                    21   increase expense and reduce the recoveries to creditors.

                                                                    22           Because the Plan implements the priorities set forth in the Bankruptcy Code, each creditor

                                                                    23   will receive under the Plan property of a value that is not less than the amount such creditor would

                                                                    24   receive in a chapter 7 case. The Plan presents a materially better alternative to creditors than a

                                                                    25   chapter 7 liquidation because the Plan provides greater recoveries for Holders of General Unsecured

                                                                    26   Claims.

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                                                                     1                                                    VII.

                                                                     2                                             RISK ANALYSIS

                                                                     3           The following discussion is not intended to be inclusive and should be read in connection

                                                                     4   with the other disclosures contained in this Disclosure Statement, the Plan and the exhibits attached

                                                                     5   hereto and to the Plan. You should carefully consider the risks described below in addition to the

                                                                     6   other information contained in this document. It is recommended that you consult your legal,

                                                                     7   financial and tax advisors regarding the risks association with the Plan and distributions you may

                                                                     8   receive thereunder.

                                                                     9           The Plan is conditioned on the Debtors’ fulfillment of their responsibilities under the Plan

                                                                    10   together with JIG’s performance of its obligations, and the Bankruptcy Court’s Confirmation of the

                                                                    11   Plan. Although the Debtors currently expect that all of the events required under the Plan will be
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                                                                    12   consummated, there is always a risk that an unforeseen development could affect either the
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                                                                    13   Confirmation or the implementation of the Plan or affect the transactions contemplated under the
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                                                                    14   Plan after Confirmation. In addition, the Plan contains several conditions precedent to the

                                                                    15   Confirmation of the Plan and it is possible that one or more of these conditions may not be satisfied.

                                                                    16   Thus, the recovery by creditors may vary. Some of the risks to Confirmation and implementation of

                                                                    17   the Plan follow.

                                                                    18   A.      Allowed Claims May Exceed Good Faith Estimates

                                                                    19           There can be no assurance that the estimated Claim amounts assumed for the purpose of

                                                                    20   preparing the Plan are correct. The actual amount of Allowed Claims in any Class likely will differ

                                                                    21   in some respect from the estimates and could be materially greater than anticipated by the Plan

                                                                    22   Proponents, which, in turn, could impact the distributions to be made to Holders of Claims.

                                                                    23   However, if Holders of General Unsecured Claims accept Option 1, they receive a guaranteed

                                                                    24   distribution, irrespective of the amount of Allowed Claims in their respective Class. By contrast, if

                                                                    25   such Holders accept Option 2, they are subject to dilution risk. The estimated amounts are subject to

                                                                    26   certain risks, uncertainties and assumptions. Should one or more of the risks or uncertainties

                                                                    27   materialize, or should underlying assumptions prove incorrect, the actual amount of Allowed Claims

                                                                    28   may vary from those estimated for the purpose of preparing the Plan.

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                                                                     1   B.      Plan May Not Be Confirmed

                                                                     2           There can be no assurance that the requisite acceptances to confirm the Plan will be received.

                                                                     3   Even if the requisite acceptances are received, there can be no assurance that the Bankruptcy Court

                                                                     4   will confirm the Plan. A rejecting creditor or Holder of an Interest may challenge the balloting

                                                                     5   procedures and results as not being in compliance with the Bankruptcy Code or Bankruptcy Rules.

                                                                     6   While the Plan Proponents believe that the Plan satisfies all of the Confirmation requirements under

                                                                     7   section 1129 of the Bankruptcy Code, there is no guarantee that the Bankruptcy Court will concur

                                                                     8   with this analysis and necessarily confirm the Plan.

                                                                     9   C.      Recoveries Are Contingent on Certain Factors

                                                                    10           The estimated amount of Cash available for distribution to Holders of Claims is contingent

                                                                    11   upon various factors, including factors outside of the control of the Debtors. Accordingly,
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                                                                    12   distributions on account of certain Claims may be less than anticipated.
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                                                                    13   D.      Government Investigations
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                                                                    14           As described above in section II.I., the company is subject to certain government agency

                                                                    15   review and investigations, the results of which have not yet concluded and the results of which are

                                                                    16   uncertain. These may negatively impact the operations or financial condition of the Reorganized

                                                                    17   Debtors after the Effective Date or could increase the Claims asserted against the Estates.

                                                                    18                                                    VIII.

                                                                    19                                               FEASIBILITY

                                                                    20           Section 1129(a)(11) of the Bankruptcy Code requires a finding that confirmation of a plan is

                                                                    21   not likely to be followed by the liquidation, or the need for further reorganization, of the debtor or

                                                                    22   any successor to the debtor under the plan, unless such liquidation or reorganization is proposed in

                                                                    23   the plan. JIG will provide the Plan Funding Amount in order to fund payment obligations under the

                                                                    24   Plan. In addition, the Debtors’ Post Confirmation Budget (attached hereto as Exhibit “2”)

                                                                    25   establishes that Reorganized Blue Earth will have adequate cash flow to fund its obligations under

                                                                    26   the Plan thereafter. Accordingly, the Plan proposed by the Debtors satisfies the requirements of

                                                                    27   section 1129(a)(11) and is “feasible.”

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                                                                     1                                                       IX.

                                                                     2                                     CONFIRMATION OF THE PLAN

                                                                     3           The Debtors will seek Confirmation of the Plan at the Confirmation Hearing, pursuant to

                                                                     4   applicable provisions of the Bankruptcy Code. If the Plan is not confirmed by the Bankruptcy Court

                                                                     5   and consummated, the alternatives include (a) liquidation of the Debtors under chapter 7 or chapter

                                                                     6   11 of the Bankruptcy Code; or (ii) Confirmation of an alternative plan of reorganization under

                                                                     7   chapter 11 of the Bankruptcy Code. If the Plan is not confirmed, the Debtors will decide which

                                                                     8   alternative to pursue by weighing each of the available options and choosing the alternative or

                                                                     9   alternatives that are in the best interests of the Debtors, their creditors and other parties in interest.

                                                                    10   However, the Plan Proponents believe that the Plan, as proposed, provides the greatest possible

                                                                    11   return currently available for the Holders of Claims in these Chapter 11 Cases.
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                                                                    1                                                     VIII.

                                                                    2                               RECOMMENDATION AND CONCLUSION

                                                                    3           Based on the foregoing, the Plan Proponents believe that the Plan is in the best interests of

                                                                    4    creditors and urge creditors to vote to accept the Plan.

                                                                    5
                                                                         Dated: May __,
                                                                                    6 2016                             Respectfully submitted,
                                                                    6
                                                                                                                       BLUE EARTH, INC.
                                                                    7

                                                                    8
                                                                                                                       By:
                                                                    9                                                  Name: G. Robert Powell
                                                                                                                       Title:
                                                                    10

                                                                    11   Dated: May __,
                                                                                    6 2016                             Respectfully submitted,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                                 BLUE EARTH TECH, INC.
                                        SAN FRANCISCO, CALIFORNIA




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                                            ATTORNEYS AT LAW




                                                                                                                       By:
                                                                    14                                                 Name: G. Robert Powell
                                                                                                                       Title:
                                                                    15

                                                                    16   Dated: May __, 2016                           Respectfully submitted,
                                                                    17                                                 JACKSON INVESTMENT GROUP, LLC
                                                                    18

                                                                    19                                                 By:
                                                                                                                       Name:
                                                                    20                                                 Title:

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                                    EXHIBIT “1”

                                        Plan

                                  [Filed Separately]




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                                    EXHIBIT “2”

                              Post Confirmation Budget




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FINANCIAL PROJECTIONS

The Plan Proponents developed the following financial projections for the period of August 1, 2016 through December 31, 2016, and the years ending December
31 for each of 2017 and 2018 (such projections, the “Financial Projections” and, such period, the “Projection Period”) for the purpose of demonstrating
feasibility of the Plan. The Financial Projections present, to the best of the Plan Proponents’ knowledge, the Reorganized Debtors’ projected financial position,
results of operations, and cash flows during the Projection Period. Unless otherwise defined, capitalized terms used herein shall have the meanings set forth in
the Plan.

Assumptions Used in the Financial Projections

The Financial Projections are premised on a number of important assumptions. Although the Plan Proponents believe the assumptions to be reasonable based on
currently available information, the Plan Proponents can provide no assurance that these assumptions will be realized.

General Assumptions
   1. Plan Terms and Consummation. The Financial Projections assume the reorganization will be consummated as of the Effective Date, which for
        modeling purposes is assumed to occur as of July 24, 2016.
   2. Fresh Start Accounting. In connection with the Plan, the Debtors will be required to restate their balance sheet in accordance with the principles of
        fresh start accounting. The Financial Projections have been prepared consistent with the basic principles of fresh start accounting as set forth in
        American Institute of Certified Public Accountants Statement of Position 90-7. The Plan Proponents are in the process of evaluating further how
        principles of fresh start accounting will be allocated to the Debtors’ various assets. The final allocation may differ from the amounts presented herein.
   3. Summary The Financial Projections are premised on the following key components:
             a. Issuance of the Exit Note to Jackson Investment Group based on the assumption of $8,000,000 of debt from a combination of the Plan Funding
                  Amount, a substantial portion of the DIP Claim, and the balance from the Prepetition Note Secured Claim. As reflected in the Financial
                  Statements, a portion of the Exit Note is reduced through the application of value received from Brooks in the amount of $2,400,000. In 2017,
                  it is projected that the Exit Note is further reduced through the realization of $2,000,000 in proceeds from EnSite.
             b. The term of the Exit Note is 5 years with no principal or interest payments required until maturity. If necessary, the maturity date of the
                  outstanding debt owing to Jackson Investment Group may be further extended or satisfied in full from the Reorganized Debtor’s assets in kind.
             c. As described in the Plan, Brooks Heat and Power, Ltd. will be spun out to a new entity that will not be owned or operated by the Debtors.
             d. The Sumter facility will be the only remaining operating subsidiary of the Debtors on a post confirmation basis, with the exception of EnSite
                  which is operated through independent management. The Financial Projections are consolidated with respect to the Sumter facility and its
                  operations, while amounts related to EnSite, Solar and Other Assets are not consolidated but reflected at their net estimated recoverable value.
             e. Receivables will be collected in the ordinary course.

Income Statement
    4. Revenues All revenues are from the Sumter facility. Revenues are projected based on current methane availability.
    5. Operating and Maintenance Costs Operating and Maintenance costs are projected between fixed and variable. Fixed costs are projected at $150,000
       per year with a 2% escalation. Variable costs are projected at $9 per MWh.
    6. Transmission Transmission charges are based on an estimated annual cost of $21,000.
    7. Land Rent Land rent is projected at $250 per month.


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    8.   Interest The post-emergence debt from Jackson Investment Group will accrue interest at the rate of 1% per annum.
    9.   Corporate Lease, net Under the Plan, the Debtors’ corporate lease will be assumed. An affiliate of the post-emergence Debtors will utilize the
         premises and reimburse the Debtors for any lease and ancillary costs.


Balance Sheet
    10. Post-Reorganization Assets Asset values are estimated based on the “High” values in the Liquidation Analysis, and it is projected that EnSite will
        yield $2,000,000 in proceeds in 2017.
    11. Lien on Sumter The Sumter facility is subject to a claim by TCA Global Master Credit Fund in the approximate amount of $916,000 and the Sumter
        facility was recently appraised at $750,000. The Debtor is in negotiations regarding the ultimate resolution and potential repayment terms of this
        obligation. Those discussions are in process and have not been finalized.



Disclaimers

The Financial Projections were not prepared to comply with the guidelines for prospective financial statements published by the American Institute of Certified
Public Accountants. The Debtors’ independent accountants have neither examined nor compiled the accompanying projections and accordingly do not express
an opinion or any other form of assurance with respect to the Financial Projections, assume no responsibility for the Financial Projections, and disclaim any
association with the Financial Projections.

The Debtors do not publish projections of their anticipated financial position or results of operations. Unless otherwise required by securities law, the Debtors
will not (a) furnish updated projections, or (b) make updated information concerning the Financial Projections publicly available.

The Plan Proponents believe that the Financial Projections represent the most probable range of operating results and financial position and that the estimates and
assumptions underlying the projections are reasonable. The estimates and assumptions may not be realized, however and are inherently subject to significant
business, economic, and competitive uncertainties and contingencies, many of which are beyond the Plan Proponents’ control. No representations can be or are
made as to whether the actual results will be within the range set forth in the Financial Projections. Some assumptions inevitably may not materialize, and events
and circumstances occurring subsequent to the date on which the Financial Projections were prepared may be different from those assumed or anticipated, and
therefore may affect financial results in a material and possibly adverse manner. The Financial Projections may not be relied upon as a guarantee or other
assurance of the actual results that will occur.




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                                    EXHIBIT “3”

                                 Liquidation Analysis




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Blue Earth, Inc.
Estimated Chapter 7 Liquidation Analysis


    A. Introduction

Under the “best interests” of creditors test set forth in section 1129(a)(7) of the Bankruptcy Code, the
Bankruptcy Court may not confirm a plan of reorganization unless the plan provides each holder of a
claim or interest who does not otherwise vote in favor of the plan with property of a value, as of the
effective date of the plan, that is not less than the amount that such holder would receive or retain if the
debtor was liquidated under chapter 7 of the Bankruptcy Code. To demonstrate that the Plan satisfies the
“best interests” of creditors test, the Plan Proponents have prepared the following hypothetical
Liquidation Analysis, which is based upon certain assumptions as discussed in the notes accompanying
the Liquidation Analysis (the “Notes”). Unless otherwise defined, capitalized terms used herein shall
have the meanings set forth in the Plan.

The Liquidation Analysis estimates potential cash distributions to holders of allowed claims in a
hypothetical Chapter 7 liquidation of the Debtors’ assets. Asset values discussed in the Liquidation
Analysis may differ materially from values referenced in the Plan and Disclosure Statement.

    B. Scope and Purpose of the Liquidation Analysis

The determination of the costs of, and hypothetical proceeds, from the liquidation of the Debtor’ assets is
an uncertain process involving the extensive use of estimates and assumptions that, although considered
reasonable by the Plan Proponents, are inherently subject to significant business, economic, and
competitive uncertainties and contingencies beyond the control of the Debtors and their management and
advisors. Inevitably, some assumptions in the Liquidation Analysis may not materialize and there could
be unanticipated or unforeseen events and circumstances that could materially impact the ultimate results
of a liquidation. The Liquidation Analysis was prepared for the sole purpose of generating a reasonable
good-faith estimate of the proceeds that might be generated if the Debtors liquidated in accordance with
Chapter 7 of the Bankruptcy Code. The Liquidation Analysis is not intended and should not be used for
any other purpose. The underlying financial information in the Liquidation Analysis was not compiled or
examined by independent accountants. In certain cases, independent appraisals were conducted in
preparing the Liquidation Analysis. Neither the Plan Proponents nor their advisors make any
representation or warranty that the actual results would or would not approximate the estimated amounts
and assumptions represented in the Liquidation Analysis. Actual results could vary materially. THE
PLAN PROPONENTS MAKE NO REPRESENTATION OR WARRANTIES REGARDING THE
ACCURACY OF THE ESTIMATES AND THE ASSUMPTIONS OR A TRUSTEE’S ABILITY TO
ACHIEVE FORECASTED RESULTS. IN THE EVENT THE CHAPTER 11 CASES ARE
CONVERTED TO CHAPTER 7, ACTUAL RESULTS MAY VARY MATERIALLY FROM THE
ESTIMATES AND PROJECTIONS SET FORTH IN THE LIQUIDATION ANALYSIS.

In preparing the Liquidation Analysis, the Plan Proponents estimated Allowed Claims based upon a
review of Claims listed on the Debtor’s Schedules and Proofs of Claim filed to date. In addition, the
Liquidation Analysis includes estimates for Claims not currently asserted in the Chapter 11 Cases, but
which could be asserted and allowed in a chapter 7 liquidation, including Administrative Claims, wind-

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down costs, trustee fees, tax liabilities, and certain lease and contract rejection damages. To date, the
Bankruptcy Court has not estimated or otherwise fixed the total amount of Allowed Claims used for
purposes of preparing the Liquidation Analysis.

NOTHING CONTAINED IN THE LIQUIDATION ANALYSIS IS INTENDED OR CONSTITUTES A
CONCESSION OR ADMISSION OF THE PLAN PROPONENTS. THE ACTUAL AMOUNT OF
ALLOWED CLAIMS IN THE CHAPTER 11 CASES COULD DIFFER MATERIALLY FROM THE
ESTIMATED AMOUNTS SET FORTH IN THE LIQUIDATION ANALYSIS. THE LIQUIDATION
ANALYSIS IS NOT AN ADMISSION AS TO THE VALIDITY, EXTENT, OR PRIORITY OF ANY
CLAIM OR LIEN.




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                            See Accompanying Notes to Liquidation Analysis




Notes to Liquidation Analysis

Overview

The Liquidation Analysis assumes conversion of the Debtors’ Chapter 11 cases to Chapter 7 liquidation
cases as of July 19, 2016 (the “Conversion Date”). On the Conversion Date, it is assumed that the
Bankruptcy Court would appoint one Chapter 7 trustee (the “Trustee”) to oversee the liquidation of the
estates. The Liquidation Analysis assumes a liquidation of substantially all of the Debtors’ assets. The
Liquidation Analysis assumes that the Trustee may engage professionals and seek to monetize the
Debtors’ assets in an orderly fashion. However, as the Debtors have neither funds, nor a source of funding
with which the Trustee may operate, the Trustee may choose to minimize the administrative claims of the
estates and allow secured creditors to take possession of their collateral in an expedited manner.

ULTIMATELY, ABSENT MATERIAL RECOVERIES ON CAUSES OF ACTION, THE
LIQUIDATION ANALYSIS REFLECTS THAT (A) THERE WILL BE INSUFFICIENT FUNDS,
AFTER PARTIAL PAYMENT OF SECURED CLAIMS, TO SATISFY ADMINISTRATIVE
EXPENSES, AND (B) UNSECURED CREDITORS WOULD RECEIVE A RECOVERY OF 0% ON
ACCOUNT OF THEIR CLAIMS, WHICH WOULD INCLUDE SUBSTANTIAL DEFICIENCY
CLAIMS.  

Note 1 Cash The Debtors have no cash. Costs incurred during the pendency of the Chapter 11 cases
have been paid pursuant to a Debtor in Possession loan in the amount of $3,000,000 approved by the
Court on April 29, 2016. It is assumed that all availability under such loan has been fully utilized as of
the Conversion Date.

Note 2 Intercompany Receivables. Blue Earth, Inc. is the holding company for certain wholly-owned
subsidiaries and also holds a 72% interest in Ensite Power, Inc. Prior to the Filing Date, Blue Earth, Inc.
provided funding to its various subsidiaries and recorded a corresponding receivable from such
subsidiaries. Concurrently, each subsidiary would record an obligation to Blue Earth, Inc. upon receipt of
such funds. Based on the Debtors’ analysis of the subsidiaries’ assets, obligations and operations, the
Debtors have concluded that the likelihood of recovering funds pursuant to these related party receivables
is remote for substantially all related party accounts except those pertaining to Blue Earth, CHP, Inc. (see
Note 6), Blue Earth Solar, Inc. (See Note 8), and Blue Earth Generator, Inc. (see Note 9). Nonetheless, a
summary of the related party receivables for all subsidiaries is provided below:



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Note 3 No  otes Receivab ble The Debttors have two o notes receivvable. The firrst note has a bbalance of
approximately $65,600   0 and is paid in
                                      i quarterly in
                                                   nstallments off approximateely $22,000. The second nnote
has a balaance of approx ximately $48,,750 and is paaid in monthlyy installmentts of approximmately $1,7000.
The Debto               hese amounts are fully colleectable. In thhe accompanyying analysis,, the amounts are
           ors believe th
included at
          a their face (uundiscountedd) amount.

Note 4 Deeposits The landlord
                       l        of th
                                    he Debtors’ co                                           mount of $16,638.
                                                   orporate officce holds a depposit in the am
There are approximately 50 months remaining on     n the lease annd the rent is aapproximatelyy $14,000 perr
month. Unnder a liquidaation scenario
                                    o, the Trustee would reject the lease andd the landlordd would be enntitled
to damagees in the amouunt of one year’s rent, lesss the amount oof the depositt. Accordinglly, the landlorrd’s
damage cllaim would be approximattely $151,362    2 ($14,000 x 112, less $16,6638).

Note 5 Fiixed Assets Fixed
                      F       assets consist
                                     c       primarrily of office ffurniture and fixtures. Nett recovery
amounts under
         u     an ordeerly liquidatioon are estimated to be betw ween $30,000 and $15,000..

Note 6 Du ue from Bluee Earth CHP    P, Inc. Amou unts due from Blue Earth, C    CHP, Inc. (“C
                                                                                             CHP”) are
$25,297,2 259. Under a liquidation sccenario, certaain assets of vvarious subsiddiaries of CHP
                                                                                             P are projecteed to
result in partial
          p       paymennts on the inteercompany reeceivable to B Blue Earth, Innc. A summarry of those
amounts isi as follows:

        Brooks
        B         In August
                     A          2014, Brooks
                                      B      Heat & Power, Ltdd. (a wholly-oowned subsidiiary of CHP),,
        en
         ntered into a 10-year energ  gy purchase agreement
                                                  a           (“EEPA”) and conncomitant laand lease withh a
        cu
         ustomer (collectively. the “Brooks
                                      “        Agreeement”). Thhe Brooks Aggreement provvided for the
        co
         onstruction off a cogeneratiion energy faccility in Broooks, Alberta, C
                                                                               Canada in whhich Blue Eartth,
        th
         hrough its affiiliates, would
                                     d design, build
                                                   d, finance, ow
                                                                wn and operatte the energy facility. As oof the
                      onstruction haad ceased duee to the Debtoors’ and their affiliates’ inaability to obtaain
        Filing Date, co
        fu
         unding and coontinue constrruction of thee project. Estiimated costs tto complete aare approximaately
        $10 million annd there is an additional
                                      a          app
                                                   proximate $1 .6 million lieen filed againsst the land byy a
        co
         ontractor called DCO. Thee Brooks Agrreement termiinates by its oown terms shoould the projeect
        no
         ot be completted by August 2016.

         n the first quaarter of 2016, the Debtors engaged
        In                                          e        a thirrd party valuaation group (tthe “Valuation
        Prrofessionals”) to assess thee value of thee Brooks projeect. The Valuuation Professionals concluded
        th
         hat (a) assumiing the Brook ks Agreement could be exteended or reneegotiated to allow time to

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        complete the project and (b) an additional $10 million of financing could be obtained to allow
        funding to complete the project, then under a discounted cash flow approach, the Brooks project
        would have a fair market value of approximately $8 million as of April 2016. However, the
        Valuation Professionals believe that the discounted cash flow approach is unwarranted given the
        lack of funding to complete the project and the fact that the present contract terms make timely
        completion impossible. Accordingly, the Valuation Professionals concluded that the most
        reasonable method for estimating fair market value of the Brooks project is under a liquidation
        scenario pursuant to which the Valuation Professionals estimated a recovery of approximately
        $4.0 million to $3.2 million. The Liquidation Analysis projects that, from these proceeds, the
        Trustee would pay the $1.6 claim of DCO, resulting in net recovered funds ranging between
        approximately $2.4 and $1.6.

        Sumter In 2015, Sumter Heat and Power, LLC (“Sumter”), a wholly-owned subsidiary of CHP,
        commenced operations of a 1.39 MW facility in Sumter, South Carolina. This facility operates
        under a 10-year contract with a third party that was signed in December 2014. In connection with
        this facility, Sumter entered into a 10-year contract with another party for the sale of renewable
        energy credits generated at this facility. Since commencing operations, the Sumter facility has
        been operating at about 29% of original projected capacity. In the first quarter of 2016, the
        Debtor engaged the Valuation Professionals to assess the value of Sumter. Utilizing a discounted
        cash flow approach, the Valuation Professionals estimated the fair market value of Sumter to be
        approximately $750,000. For purposes of the Liquidation Analysis, the Debtors have utilized this
        assessment of value.

        Other CHP has certain deposits with manufacturers of turbines. Although these deposits are not
        subject to refund, there may exist some opportunity for a Trustee to attempt to monetize these
        deposits. For purposes of the Liquidation Analysis, any potential recoveries were deemed
        speculative and not included herein.

Note 7 Investment in EnSite EnSite Power, Inc. (“EnSite”) is a majority-owned subsidiary of Blue
Earth, Inc. EnSite seeks to provide a Nickel-Zinc (“NiZn”) battery alternative to historical lead-acid
products as well as other advanced rechargeable chemistries. EnSite owns two technology business units
– Blue Earth Energy Power Solutions and Blue Earth Power Performance Solutions – including certain
patents and trademarks associated with these units. Preliminary revenues for 2015 are less than $2
million, while preliminary losses for 2015 are in excess of $2 million. During the fourth quarter of 2015
and first quarter of 2016, Ensite raised additional funds from non-Debtor affiliates to cover ongoing
losses.

As of April 2016, EnSite’s management was involved in a capital raising effort in order to purchase all or
a portion of Blue Earth, Inc.’s interests in EnSite. EnSite is also seeking to complete a private placement
for up to $15 million of preferred equity.

In the first quarter of 2016, Blue Earth, Inc. engaged a third party valuation group to assess the value of
its 72% equity interest in EnSite. The third party appraiser noted that “As of the valuation date [April 4,
2016], EnSite’s operational viability is unknown.” Accordingly, the appraiser relied upon a market-based
valuation approach tied to the recent issuance of convertible notes by EnSite and estimated the value of
Blue Earth, Inc.’s 72% interest in EnSite at approximately $4.86 million. The Liquidation Analysis
utilizes such third party assessment of value.

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Note 8 Solar Blue Earth, Inc.’s wholly-owned subsidiary, Blue Earth Solar, Inc., has receivables of
approximately $1.3 million that can serve as a source of funds to the Debtors. These receivables are
deemed to be fully collectable.

Note 9 Blue Earth Generator, Inc. Blue Earth, Inc. is in the process of winding down the operations of
Blue Earth Generator, Inc. and projects recovering approximately $280,000 to $200,000 from the
collection of outstanding receivables.

Note 10 Causes of Action The Debtors may have certain causes of action that would not be subject to
the claims of secured creditors. At the present time, the value of such causes of action is undetermined.
Unsecured claims pursuant to a liquidation scenario are estimated to be between $19.5 million and $18.6
million. The Debtors believe that the only recovery available to unsecured claims in a liquidation would
be from the proceeds of potential estate causes of actions. Although the Debtors have not estimated the
amount recoverable from such causes of action, the Debtors believe that such recoveries could be
increased in the context of a Chapter 11 case given access to knowledgeable persons and information that
may not be available to a Trustee in a Chapter 7 case.

Note 11 Net Operating Losses The Debtors have generated tax net operating losses (“NOLs”) totaling
approximately $42 million as of December 31, 2015. Under a liquidation scenario, the Debtors do not
project generating income against which these losses can be utilized. Hence, the NOLs have been
assessed $0 value under the Liquidation Analysis.

Note 12 Jackson Investment Group Projected Balance includes amounts due under the DIP Facility
($3,000,000) and amounts due as of the Filing Date ($23,282,386).

Note 13 Laird Q. Cagan For purposes of the Liquidation Analysis, it is assumed that the claim of Laird
Q. Cagan is unsecured in the amount of $1,722,736. Mr. Cagan, however, asserts a Secured Claim
against the Debtors. The Plan Proponents continue to investigate Mr. Cagan’s asserted claims and reserve
all rights to challenge the validity, priority, and amount of such claims on any grounds, including, but not
limited to whether Mr. Cagan is the Holder of a Secured Claim.

Note 14 TCA Amount due TCA Global Credit Master Fund, LP as of the Filing Date, which is
purportedly secured by the Sumter facility.

Note 15 Chapter 7 Trustee and Other Expenses The Liquidation Analysis assumes the conversion of
the case to a Chapter 7 and estimates a Trustee and other professional expenses of between $500,000 and
$250,000.

Note 16 Chapter 11 Accrued and Unpaid Administrative Expenses The Liquidation Analysis
assumes that accrued Chapter 11 administrative expenses in excess of amounts funded under the DIP
Facility, will total between approximately $1,500,000 and $1,300,000 as of the Conversion Date.

Note 17 Chapter 11 Unpaid Priority Claims Total priority claims as of the Filing Date.

 




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                                      EXHIBIT “4”

                              Corporate Organizational Chart




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 02/22/2016                                                                                                                                                                              Entity Org Chart




                                                                                                                    Blue Earth, Inc.

                                                                                                                                                   NV


              100%                                                         100%                                                                                      100%                              100%


                                                                                                                           See add’l
                                                                                                                            subs on                       Blue Earth Energy 
   Blue Earth Capital, Inc.                                  Blue Earth CHP, Inc.                                            p. 2‐3                      Management Services,                 Blue Earth Finance, Inc.
                                                                                              U                                                                  Inc.
BECI                                  NV                                                                                                                                         CA                                      NV
                                                                                              T
             YieldCo


               100%                                   100%                                  100%                          100%



            Brooks                               Live Oak                            Marshalltown                  Mt Pleasant
       Heat & Power Ltd                      Heat & Power, LLC                     Heat & Power, LLC             Heat & Power, LLC
                                CAN                               NV
                                                              Germany                                     NV                              NV

        Brooks Co‐Gen Plant                  Live Oaks Co‐Gen Plant               Marshalltown Co‐Gen Plant      Mt Pleasant Co‐Gen Plant




              100%                                   100%                                 100%                            100%                          100%



           Plainwell                            Souderton                              Sumter                         Tolleson                   Worthington
       Heat & Power, LLC                     Heat & Power LLC                     Heat & Power, LLC              Heat & Power, LLC             Heat & Power, LLC
                                NV                                    NV                                                                                              NV
                                                                                                         NV                               NV

       Plainwell Co‐Gen Plant                Souderton Co‐Gen Plant                Sumter Co‐Gen Plant            Tolleson Co‐Gen Plant        Worthington Co‐Gen Plant




                                                                                                               PROPRIETARY & CONFIDENTIAL

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                                                                                                         100%

                                                                                                Blue Earth, Inc.

                                                                                                                                       NV




             100%                                           100%                                           100%                                          100%                                        100%




         Blue Earth                                                                                                                               EnSite Power, Inc.                         E2B Growth, Inc.
                                                  Blue Earth Solar, Inc.                       Blue Earth Tech, Inc.
       Generator, Inc.
                                                                           CA                                                                                            DE           BETI                      NV
BEGI                        NV                                                          BETI                                      NV

                                                                                                        Payroll Entity                                                                              YieldCo


                                                                                                                                   100%                                            100%
                              100%                                                    100%


                                                                                                                                                                             Blue Earth Power 
                         Blue Earth Solar                                          ecoLegacy                               Blue Earth Energy 
                                                                                                                                                                          Performance Solutions, 
                           Oregon, LLC                                          Gas & Power, LLC                          Power Solutions, LLC.
                                                                                                                                                                                    Inc.
                                             NV                                                   CA                    BEEPS               OR
                                                                                                                                                         24.4%
                                                                                                                                                                          BEPPS                OR




                                                                                                                                                  PowerGenix Systems, 
                                                                                                                                                         Inc.
                                                                                                                                                                    DE




                                                                                       PROPRIETARY & CONFIDENTIAL                                                                                                    2

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                                                                                   100%

                                                                            Blue Earth, Inc.

                                                                                                           NV




             100%                                 100%                               100%                                 100%                                       100%




      Maili PV‐01 LLC                 Maili PV‐03 Limited                  Maili PV‐05 Limited                  Maili PV‐06 Limited                      Makaha PV‐02 Limited

                                                                                                                                            HI         BETI                          HI
                            HI                                HI                                      HI

      Melga Solar Project                RNI1 Solar Project                   Sabrina Solar Project               Cozzens Solar Project                       Kamata Solar Project




                                                                      PROPRIETARY & CONFIDENTIAL                                                                                          3

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